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         EXHIBIT A
                Case 5:17-cv-00967-R-KK Document 1-1 Filed 05/17/17 Page 2 of 64 Page ID #:14



                                                                                                                                                        SUM-I 00
                                                    SUMMONS                                                                  FOR COURT USE ONLY
                                                                                                                          (SOLO PARS USG 05 LA CORTE
                                          (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(A V/SO AL DEMANDADO);                                                                                                      FILE IFCAUFOR
 wAL-MAItT STORES, INC., a Delaiare Corporation; W AL-NART ASSOCIATES,                                          SUPERIOR COURT
                                                                                                                 GOUNfl' OF SAN BERNARDINO
 INC., a Delaware Corporation; HCALTHWORKS MEDICAL GROUP, a California                                             SAN BERNARDINO DISTRICT
 Corporation; and DOES 1 through 100, Inclusive
 YOU ARE BEING SUED BY PLAINTIFF:                                                                                           JAN 13 207
(LO ESTA DEMANDANDO EL DEMANDANTE):
 KRIS KENNY, on behalf of himself and all others
 similarly situated                                                                                           BY
 NOTICE1 You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be acourt form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.cowlinfo.cagov/se!fhelp), your County law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
 may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney nght away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www./awhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or County bar association. NOTE: The court has a statutory lien for waived fees and                  .
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iAVISOF Lo han demandado. Si no responde dentro do 30 dies, Ia corte puede decidir an su contra sin escuchar su versiOn. Lea Ia informaciOn a                               —
 con finuaciOn.
     Tiene 30 DIAS DE CALENDARIO despuês de que Ia entreguen esta citaciOn y papelos lega/es pate presentar una respuesta par eschto en esta
 corte y hacer que so entregue una copia at demandanle. Una carte a una liamada telefOnica no to protegen. Su respuesta pot escrito hone qua ester
 an form ato legal con'ecto Si desea quo proceson su caso an Fe corte. Es posible que haya un formulario que us/ed pueda usar pare su respuesta.
 Puede encontrar estos form u/arias de Ia corte y mbs informaciOn an el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en Ia
 biblioteca de byes do su condado o en Ia corte quo Fe quede més cerca. Si no puede pager/a cuoba de presentaciOn, pida at secretario do (a cofle
 que Fe tie un forrnu/ario de exenciOn do pego do cuotas. Si no presenta su respuesta a hien7po, puede pettier el caso por incumplimiento y Ia corte Fe
 podré quilar su sue/do, dinero yb/ones sin mbs advertencia.
    Hay otros requisitos legates. Es recomendabte que I/ama a un abogado inmediotamente. Si no conoce a un abogado, puede I/amer a un ser,'icio de
 remisiôn a abogados. Si no puede pagar a un abogado, es posib/e qua cumpta con los requisilos para obtener servicios legates gratuifas de un
 programa de servicios legates sin fines do lucro. Puede encontrar estos grupos sin fines do lucro en el 51110 web de California Legal SeMces,
 (www.lawhelpcalifomia.org), en el Centro de Ayuda do las Caries de California, (www.sucorte.ca.gov) 0 poniéndose an contacto con Ia corte a ci
 colegio do abogados locales. A V/SO: Por Fey, Ia corte tiene derecho a reclamarias cuotas y los costos exentos par imponer un gravérnen sabre
 cua!quier recuperación de $10,000 6 mãs do valor recibida medianto on acuerdo o una concesiOn de arbitraje an un caso de derecho civil. Tiene quo
 pager e/ gravarnen de Ia corte anles do quo Ia corte pueda desechar el caso.
The name and address of the court is:
(El r,ombre y direcciôn do Ia corte as):                                                                             CIV DS         , ',.    j7 6ó
                                                                                                          I
SAN BERNARDINO COUNTY SUPERIOR COURT
247 West Third Street
San Bernardino, California 92415-0210
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, Ia dirección y el tiUmero do teléfono del abogado del demandante, o del demandanfe quo no liene abogado, as):
BRENNAN S; KAHN, ESQ. (SBN 259548) PERONA, LANGER, BECK, SERBIN, MENDOZA & HARRISON
300 East San Antonio Drive (562) 426-6155
Long Beach, California 90807
DATE:
                 "  'AN 1 3 '
                            i''
                                                                                   Clerk, by                       Affl    PTy                             , Deputy
(Fecha)                                                                (Secretario)                                                                        (Adjunlo)
(For proof of service of this summons, use Proof of Service of Summons (form POS-OlO).)
(Pare prueba de enirega de esta citacibn use el formularto Proof of Service of Summons, (POS-OlO)).
 ISEALI               A                      NOTICE TO THE PERSON SERVED: You are served
                      \                      1.as an individual defendant.
                                             2.     as the person sued under the fictitious name of (specify):
                          5 N1
          .' /c)
          .:\                                3.   EJ on behalf of (specify):
                                                  under:         CCP4I6.10(Corporation)                                   CCP 41660 (minor)
                                                                 CCP 416.20 (defunct corporation)                         CCP 416.70 (conservatee)
                )                     S                          CCP 416.40 (association or partnership)                  CCP 416.90 (authorized person)
                                                                 other (specify):
  '
                                          4.      D by personal delivery on (dale):
                                                                                                                                                           Page 1 of I
                Manfatory Use                                                                                                  Code at ChrI Procedtre §t 41220. 465
                of
                Ji 2°C'          Essential                                                                                                      WItv.cQV#iflfO.Ca.9oe
                                 J Forms                                                                       Kenny Class Action

                                                                                                                     REMOVAL EXHIBIT A 001
Case 5:17-cv-00967-R-KK Document 1-1 Filed 05/17/17 Page 3 of 64 Page ID #:15




  1   David M. deRubertis, State Bar No. 208709                         ISpace IcIow Reserved for Court Use Only)
      Kelly A. Knight, State Bar No. 246370
  2   The deRubertis Law Firm, APC
      4219 Coldwater Canyon Avenue                                               FILE D
                                                                                    OF CALIFORNIA
  3   Studio City, California 91604                                   SUPERIOR COURT
      1: (818) 761-2322 / F: (818)7612323                              COUN                    jrfuCT

      Todd H. Harrison, State Bar No. 230542                                     JAN    13    207
  5   Brennan S. Kahn, State Bar No. 259548
      Perona, Langer, Beck, Serbin,                                             7)
  6   Mendoza & Harrison, APC                                      BY
      300 East San Antonio Drive                                                 ANNE PIERW, 6EPU
  7   Long Beach, California 90807
      T: (562) 426-6155 / F: (562) 490-9823
  8
      Attorneys for Plaintiff, Kris Kenny on behalf of himself and all others similarly situated
  9
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
 10
                                   FOR THE COUNTY OF SAN BERNARDINO
 11
       KR1S KENNY, on behalf of himself and all          Case Number:               CI'ItS 170876
 12    others siinilary situated,
                                                         CLASS ACTION
 13                   Plaintiff,
                                                         COMPLAINT FOR:
 14           vs.                        -. ::'• -.
                                                         (1)     Disability Discrimination;
 15
       WAL-MART STORES, INC., a Delaware                 (2)     Failure to Reasonably Accommodate;
 16    Corporation; WAL-MART ASSOCIATES,
       INC., a Delaware Corporation; U.S.                (3)     Failure to Engage in the Interactive Process;
 17    HEALTHWORKS MEDICAL GROUP, a
       California Corporation; and DOES I through        (4)     Failure to Maintain a Workplace Free From
 18    100, inclusive,                                           Discrimination and Retaliation;

 19                   Defendants.                        (5)     Retaliation in Violation of FEHA;

 20                                                      (6)     Retaliation and Wrongful Termination
                                                                 in Violation of Labor Code § 1102.5;
 21
                                                         (7)    Wrongtuil Termination in Violation of
 22                                                             Public Policy;

 23                                                      (8)     Violation of the Constitutional Right to
                                                                 Privacy;
 24
                                                         (9)    Aiding and Abetting in Violation of FEHA;
 25
                                                         (10)    Declaratory and injunctive Relief, and
 26
                                                         (11)    Violation of Business and Professions
 27                                                              Code§ 17200

 28                                                   Jury Trial Demanded



                                          CLASS ACTION COMPLAINT
                                                                            REMOVAL EXHIBIT A 002
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  1           Plaintiff, Kris Kenny, on behalf of himself and all others similarly situated, (hereinafter referred

  2   to as "Plaintiffs"), hereby file this Complaint against Defendants, WAL-M ART STORES, INC., a

  3   Delaware Corporation, WAL-MART ASSOCIATES, INC., a Delaware Corporation, U.S.

  4   HEALTHWORKS MEDICAL GROUP, a California Corporation; and DOES I through 100

  5   (hereinafter collectively referred to as "Defendants"). Plaintiffs are informed and believe, and on the

  6   basis of that information and belief, allege as follows:

  7

  8                                              INTRODUCTION

  9           1.      This is a civil class action seeking both general, special and punitive damages, as well

 10   as injunctive relief, as a result of Defendants' violations California law including, but not limited to,

 11   California Government Code ("Government Code") §§ 12925, 12926 et seq., 12926.1, 12940 et seq.,

 12   California Labor Code ("Labor Code") § 1102.5 et seq., California Business and Professions Code

 13   § 17200, et seq., California's Fair Employment and Housing Act ("FEHA"), the California Constitution

 14   and common law regarding public pojicy.

 15           2.      Plaintiffs' action seeks monetary damages, including fIjil restitution of employment and

 16   lost income from Defendants, as well as changes in Defendants' policies and practices, as a result of

 17   Defendants' unlawful, fraudulent and unfair business practices in California.

 18           3.      The acts complained of herein occurred, occur and will occur, at least in part, within the :

 19   time period from four (4) years preceding the filing of this complaint, up to and through the entry of

 20   judgment in this matter (hereinafter, the "relevant time period").

 21

 22                                       JURISDICTION AND VENUE

 23           4.      This Court has jurisdiction over this action pursuant to California Constitution Article

 24   VI, § 10, which grants the Superior Court "original jurisdiction in all causes except those given by

 25   statute to other courts." The statutes under which this action is brought do not specify any other basis

 26   for jurisdiction.

 27 III

 28   III

                                                          -2-
                                          CLASS ACTION COMPLAINT
                                                                            REMOVAL EXHIBIT A 003
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  1           5.      Plaintiffs have exhausted their administrative remedies by the timely request of a Right-

  2   to-Sue notice from the California Department of Fair Employment and Housing within one year of the

  3   events alleged herein.

  4           6.      Plaintiffs have exhausted their administrative remedies by providing timely notice to

  5   the Labor & Workforce Development Agency of their claims within the period provided by statute.

  6           7.      This Court has jurisdiction over all Defendants because, based on information and

  7   belief, each party is either a citizen of California, has sufficient minimum contacts in California, or

  8   otherwise intentionally avails itself of the California market so as to render the exercise of jurisdiction

  9   over it by the California courts consistent with traditional notions of fair play and substantial justice.

 10           8.      Venue is proper in this Court because, upon information and belief, one or more of the

 11   named Defendants reside, transact business, or have offices in this county and/or the acts and

 12   omissions alleged herein took place in this county.

 13

 14                  .     ..     . ...            THE PARTIES                         .....              .     .. -

 15           9.      Plaintiff, KRIS KENNY (hereinafter "KENNY"), is now and/or at all times mentioned

 16   in this Complaint was an individual over the age of eighteen (18) years old and was a resident of

 17   Riverside County, in the State of California.

 18           10.    Defendant, WAL-MART STORES, INC. (hereinafter collectively as "WAL-MART"),

 19   was and is, upon information and belief, a Delaware Corporation doing business within the State of

 20   California, and at all times hereinafter mentioned, is an employer whose employees are engaged in

 21   commerce throughout this county and the State of California.

 22          11.     Defendant, WAL-MART ASSOCIATES, INC. (hereinafter collectively as "WAL-

 23   MART"), was and is, upon information and belief, a Delaware Corporation doing business within the

 24   State of California, and at all times hereinafter mentioned, is an employer whose employees are

 25   engaged in commerce throughout this county and the State of California.

 26          12.     Defendant, U.S. HEALTH WORKS MEDiCAL GROUP (hereinafter

 27   "HEAL1'H WORKS"), was and is, upon information and belief, a California Corporation doing

 28   business within the State of California, and at all times hereinafter mentioned, is an employer whose

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                                          CLASS ACTION COMPLAINT
                                                                             REMOVAL EXHIBIT A 004
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   1   employees are engaged in commerce throughout this county and the State of California.

  2            13.     Plaintiff is unaware of the true names or capacities of the Defendants sued herein under

  3    the fictitious names DOES 1-100, but prays for leave to amend and serve such fictitiously named

  4    Defendants pursuant to California Code of Civil Procedure ("CCP")* 474, once their names and

  5    capacities become known.

  6            14.     Plaintiff is informed and believes, and thereon alleges, that DOES 1-100 are the

  7    partners, joint ventures, parent companies, owners, shareholders or managers or employees of

  8    Defendants and, therefore, were acting on behalf of Defendants.

  9            15.     WAL-MART, HEALTH WORKS and DOES 1-100 will hereafter be collectively

 .10   referred to as "Defendants."

 11            16.     Plaintiff is informed and believes, and thereon alleges, that each of said Defendants are

 12    in some manner intentionally, negligently, or otherwise responsible for the acts, occurrences or

 13    transactions alleged herein.

 14            17.    Plaintifuiisjnforrned and believes, and thereon alleges, that each andall of.the acts and:

 15    omissions alleged herein were performed by, or are attributable to, all Defendants, each acting as the

 16    agent for the other, with legal authority to act on the other's behalf. The acts of Defendants were in

 17    accordance with, and represent the official policy of Defendants.

 18           18.     Plaintiff is informed and believes, and thereon alleges, that at all times material hereto

 19    and mentioned herein, each Defendant sued herein (both named and DOE Defendants) was the agent,

 20    servant, employer, joint venturer, joint employer, contractor, contractee, partner, division owner,

 21    subsidiary, division, alias, and/or alter ego of each of the remaining Defendants and was, at all times,

 22    acting within the purpose and scope of such agency, servitude, employment, contract, ownership,

 23    subsidiary, alias and/or alter ego and with the authority, consent, approval, control, influence and

 24    ratification of each remaining Defendant sued herein.

 25           19.     At all times herein mentioned, Defendants, and each of them, ratified each and every act

 26    or omission complained of herein. At all times herein mentioned, the Defendants, and each of them,

 27    aided and abetted the acts and omissions of each and all the other Defendants in proximately causing

 28    the damages herein alleged.                                                      .. .


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                                           CLASS ACTION COMPLAINT
                                                                            REMOVAL EXHIBIT A 005
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                                   NS
                                   I




      1                                          RELEVANT JOB TITLES

      2           20.      The relevant job titles in this action are persons that worked for Defendants' as

      3   California-based full-time and/or part-time regular associates who were hired by WAL-MART on a

      4   iion-seasonal basis during the relevant time period (the "Class Members").

      5

      6                                           SUMMARY OF CLAIMS

      7           21.      With regard to the Class Members, Defendants, due to their collective unlawful

      8   conduct, have:

 .    9                    (a)    Discriminated against the Class Members on the basis of their disabilities;

     10                    (b)    Failed to reasonably accommodate the Class Members for their disabilities;

     11                    (c)    Failed to engage in the interactive process with the Class Members;

     12                    (d)    Failed to ensure that the Class Members' workplaces were free of discrimination

     13                           and retaliation;

     14                           Retaliated against the Class Members for engaging in protected activities;.

     15                    (f)    Terminated the Class Members in violation of public policy;

     16                    (g)    Violated the privacy rights of the Class Members;

     17                    (h)    Aided and abetted in harming the Class Members in violation of the Fair

     18                           Employment and Housing Act ("FE}iA"); and

     19                    (i)    Engaged in unfair and/or unlawful business practices to the detriment of the

 20                               Class Members and/or the pubfic at large.

 21

 22                                         CLASS ACTION ALLEGATIONS

 23

 24       A.     Class Action Definitions

 25

 26              22.     Plaintiffs bring this suit as a class action pursuant to CCP § 382, on behalf of

 27       individuals who have been discriminated against on the basis of their disabilities and/or who have had

 28       their Privacy rights violated by Defendants all as a result of Defendants' unlawful drug and/or urine

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                                               CLASS ACTION COM1LAINT
                                                                               REMOVAL EXHIBIT A 006
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                                .0.




  1    testing policies and/or practices.

  2           23.        The putative Classes that Plaintiffs will seek to certify are currently composed of and

  3    defined as follows:

  4           Class 1:          All persons previously employed by WAL-MART in California as a regular

  5                             part-time and/or full-time associate who were terminated by WAL-MART after
  6                             suffering a workplace-related injury while employed by WAL-MART and then
  7                             failing and/or refusing to submit to a drug and/or urine test with
  8                             HEALTHWORKS ("Class 1").
  9           Class 2:          All persons previously employed by WAL-MART in California as a regular
 10                             part-time and/or full-time associate who were terminated by WAL-MART after
 11                             suffering a workplace-related injury which made them disabled while employed
 12                             by WAL-MART and then failing and/or refusing to submit to a drug and/or
 13                             urine test with HEALTHWORKS ("Class 2").
 14.     ..   Class.:           All persons previously employed by WAL-MART in alifon3iaasa.egular
 15                             part-time and/or full-time associate who were terminated by WAL-MART after
 16                             suffering a workplace-related injury while employed by WAL-MART and then
 17                             being requested to submit to a drug and/or urine test with HEALTHWORKS
 18                             ("Class 3").
 19           Class 4:          All persons previously employed by WAL-MART in California as a regular
 20                            part-time and/or full-time associate who were terminated by WAL-MART after
 21                            suffering a workplace-related injury which made them disabled while employed
 22                            by WAL-MART and then being requested to submit to a drug and/or urine test
23                             with HEALTHWORKS ("Class 4").
24            Class 5:         All persons currently employed by WAL-MART in California as a regular part-
25                             time and/or full-time associate who took a drug and/or urine test with
26                             HEALTHWORKS as a result of suffering a workplace-related injury while
27                             employed by WAL-MART ("Class 5").
28

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                                               CLASS ACTION COMPLAINT
                                                                              REMOVAL EXHIBIT A 007
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         1            Class 6:       All persons currently employed by WAL-MART in California as a regular part-

       2                             time and/or full-time associate who took a drug and/or urine test with

       3                             HEALTFIWORKS as a result of suffering a workplace-related injury which

       4                             made them disabled while employed by WAL-MART ("Class 5").

       5             Class 7:        All persons currently employed by WAL-MART in California as a regular part-

       6                             time and/or full-time associate who were requested by WAL-MART and/or

      7                              HEALTH WORKS to submit to a drug and/or urine test with HEALTFI WORKS

      8                              after suffering a workplace-related injury while employed by WAL-MART

      9                              ("Class 7").

     10              Class 8:        All persons currently employed by WAL-MART in California as a regular part-

     11                              time and/or full-time associate who were requested by WAL-MART and/or

     12                              HEALTH WORKS to submit to a drug and/or urine test with HEALTHWORKS

     13                              after suffering a workplace-related injury which made them disabled while

-    1.4.1                           employed by WAL-MART ("Class 8").                 .

     15              (Class 1, Class 2, Class 3, Class 4, Class 5, Class 6, Class 7 and Class 8 shall be collectively

     16      referred to as the "Classes" herein)

     17              24.     Throughout discovery in this litigation, Plaintiffs may find it appropriate and/or

     18      necessary to amend the definition of the Classes. Thus, Plaintiffs will formally define and designate a

     19      definition of the Classes at such time when Plaintiffs seeks to certify the Classes alleged herein.

    20

    21       B.      Class Action Requirements

    22

    23               25.    Numerosity (CCP § 382): The potential quantity of members of the Classes as defined

    24       is so numerous that joinder of all members would be unfeasible and impractical. The disposition of

    25       their claims through this Classes action will benefit both the parties and this Court. The quantity of

    26       members of the Classes is unknown to Plaintiffs at this time, however, it is estimated that the Classes

    27       number greater than 100 individuals. The quantity and identity of such membership is readily

    28       ascertainable via inspection of Defendants' rccords.

                                                           -7-.
                                                 CLASS ACTION COMPLAINT
                                                                                   REMOVAL EXHIBIT A 008
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   1               26.   Typicality: The claims of Plaintiffs are typical of the claims of all members of the

   2     Classes mentioned herein because all members of the Classes sustained injuries and damages arising

   3     out of Defendants' common course of conduct in violation of law and the injuries and damages of all

   4     members of the Classes were caused by Defendants' wrongful conduct in violation of law, as alleged

   5     herein.

   6               27.   Adcguacy: Plaintiffs are adequate representatives of the Classes herein, will fairly

   7     protect the interests of the members of the Classes, have no interests antagonistic to the members of

   8     the Classes and will vigorously pursue this suit via attorneys who are competent, skilled and

   9     experienced in litigating matters of this type.

  10               28.   Superiority (CCP § 3: The nature of this action and the nature of laws available to

  11     Plaintiffs make use of the class action format particularly efficient and appropriate procedure to afford

  12     relief to plaintiffs for the wrongs alleged herein, as follows:

  13                     (a)    California has a public policy which encourages the use of the class action

 .14..                          device;

  15                     (b)    By establishing a technique whereby the claims of many individuals can be

  16                             resolved at the same time, the class suit both eliminates the possibility of

  17                            repetitious litigation andprovides small claimants with a method of obtaining

  18                            redress for claims which would otherwise be too small to warrant individual

  19                            litigation;

 20                      (c)    This case involves a small number of large corporate Defendants and a large

 21                             number of individual class members with many relatively small claims and

 22                             common issues of law and fact;

 23                      (d)    If each individual member of each of the Classes was required to file all

 24                             individual lawsuit, the large corporate Defendants would necessarily gain an

  25                            unconscionable advantage because Defendants would be able to exploit and

 26                             overwhelm the limited resources of each individual member of the Classes with

 27                             Defendants' vastly superior financial and legal resources;

 28      III

                                                         -8-
                                              CLASS ACTION COMPLAINT
                                                                               REMOVAL EXHIBIT A 009
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    1            (e)    Requiring each individual member of each of the Classes to pursue an

    2                   individual remedy would also discourage the assertion of lawful claims by the

    3                   members of the Classes who would be disinclined to pursue an action against

    4                   Defendants because of an appreciable and justifiable fear of retaliation and

    5                   permanent damage to their lives, careers and well-being;

    6            (f)    Proof of a common business practice or factual pattern, of which the members

    7                   of the Classes experienced, is representative of the Classes herein and will

    8                   establish the right of each of the members of the Classes to recover on the

    9                   causes of action alleged herein;

   10            (g)    Absent class treatment, the prosecution of separate actions by the individual

   11                   members of the Classes, even if possible, would create a substantial risk of

   12                   inconsistent or varying verdicts or adjudications with respect to the individual

   13                   members of the Classes against Defendants; and which would establish

.-J4..                  potentially incompatible standards of conduct for Dfndants; and/or legal

   15                   determinations with respect to individual members of the Classes which would,

   16                   as a practical matter, be dispositive of the interest of the other members of the

   17                   Classes who are not parties to the adjudications or which would substantially

   18                   impair or impede the ability of the members of the Classes to protect their

   19                   interests;

  20             (Ii)   The claims of the individual members of the Classes are not sufficiently large to

  21                    warrant vigorous individual prosecution considering all of the concomitant costs

  22                    and expenses attending thereto; and

  23             (i)    Courts seeking to preserve efficiency and other benefits of class actions

  24                    routinely fashion methods to manage any individual questions. The Supreme

  25                    Court of California urges trial courts to be procedurally innovative in managing

  26                    class actions, which have an obligation to consider the use of innovative

  27                    proccdural tools to certify a manageable class.

  28     III

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                                     CLASS ACTION COMPLAINT
                                                                      REMOVAL EXHIBIT A 010
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              29.     Existence and Predominance of Common Questions of Fact and Law (CCP §382):

   2   There are common questions of law and fact as to the members of the Classes which predominate over

   3   questions affecting only individual members of the Classes including, without limitation, whether the

   4   classes were discriminated against on the basis of their disabilities and/or had their privacy rights

   5   violated as a result of any unlawful drug and/or urine testing policies and/or practice implemented

   6   and/or executed by Defendants, and as a result:

   7                  (a)     Whether WAL-MART discriminated against the members of the Classes on the

   8                          basis of their disabilities in violation of the FEHA;

   9                  (b)     Whether WAL-MART failed to reasonably accommodate the members of the

  10                          Classes for their disabilities in violation of the FEHA;

  11                  (c)     Whether WAL-MART failed to engage in the interactive process with the

  12                          members of the Classes in violation of the FEHA;.

  13                  (d)     Whether WAL-MART failed to ensure that the members of the Classes'

  14                          workplaces were free of discrimination ndre.tajation in violation of the FF1-IA;

  15                  (c).    Whether WAL-MART retaliated against the members of the Classes for

  16                          engaging in protected activities in violation of the FEI-lA and/or Labor Code

  17                          §1102.5;

  18                  (f)     Whether WAL-MART terminated the members of the Classes in violation of

  19                          public policy protecting the rights of disabled employees and, in general, the

  20                          privacy rights of all employees;

  21                  (g)     Whether Defendants, and each of them, violated the privacy rights of the

  22                          members of the Classes;

  23                  (ii)    Whether HEALTH WORKS aided and abetted in harming the members of the

 24                           Classes in violation of the FEHA;

  25                  (i)     Whether Defendants engaged in unfair and/or unlawful business practices to the

 26                           detriment of the members of the Classes and/or the public at large in violation

  27                          California Business and Professions Code § 17200, etseq.;

 28    I/I


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   1            (j)    Whether the members of the Classes suffered a workplace injury while

   2                   employed by WAL-MART;

   3            (k)    Whether the members of the Classes were disabled while employed by WA!..-

   4                   MART;

   5            (1)    Whether the members of the Classes, as a matter of policy and/or practice, were

   6                   requested to take a urine and/or drug test with HEALTHWORKS as a result of a

   7                   workplace injury while employed by WAL-MART;

   8            (m)    Whether the Defendants implemented any policy or procedure to determine

   9                   whether any of the members of the Classes were intoxicated while at work prior

  10                   to requesting that they take a urine and/or drug test with HEALTHWORKS

  11                   while employed by WAL-MART;

  12            (n)    Whether the Defendants implemented any policy or procedure, as part of any

  13                   interactive process, to determine whether a reasonable accommodation could be

  14                   met for those who could not immediatel-y submit to a drug and/or urine test with

  15                   HEALTHWORKS in compliance with Defendants' policies and/or practices

  16                   requiring such a test after the Class Member suffered a workplace injury while

  17                   employed by WAL-MART;

  18            (o)    Whether those members of the Classes who were disabled and did not submit to

  19                   a drug test with HEALTHWORKS as Defendants demanded due to their

  20                   workplace injuries while employed by WAL-MART were denied reasonable

  21                   accommodations;

  22            (o)    Whether the members of the Classes were terminated by WAL-MART as a

  23                   result of failing to and/or refusing to submit to Defendants' demanded drug

  24                   and/or urine test with HEALTHWORKS as a result of their workplace injuries

  25                   suffered while employed by WAL-MART;

  26            (j))   Whether the members of the Classes are entitled to compensatory, incidental,

  27                   consequential, general and/or special damages, and if so, the means of

  28                   measuring such damages;

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                              Whether the members of the Classes are entitled to injunctive relief;

   1                          Whether the members of the Classes are entitled to restitution of their

  3                           employment;

  4                           Whether Defendants are liable for punitive damages;

   5                          Whether Defendants are liable for pre-judgrnent interest; and

  6                           Whether Defendants are liable for attorneys' fees and costs.

  7            30.    Whether the members of the Classes might be required to ultimately justify an

  8    individual claim does not preclude maintenance of a Classes action. See Collins v. Rocha (1972) 7

  9 Cal.3d 232, 238.
 10
 11 I C.       Defendant WAL-MART

 12
 13           31.     At all times mentioned here, WAL-MART is an employer who owns and/or operates

 14    dozens of retail stores throughout the state of Cal.ifornia,.wiereby it employs thousands of employees

 15    throughout the state, including within the county of San Bernardino, California.

 16
 17 D.        Defendant HEALTHWORKS

 18
 19           32.     At all times mentioned here, HEALTHWORKS is a business which owns and/or

 20    operates dozens of laboratories throughout the state of California, including the county of San

 21    Bernardino, California. At its facilities, HEALTHWORKS it conducts various testing, including urine

 22    and/or drug testing, for its customers, including WAL-MART..

 23
 24    E.     WAL-MART's longstanding history of discrimination against disabled workers.

 25
 26           I.      Latc-1990s into the eaiiy-2000s: The federal government's attempt to get WAL-

 27                   MART to stop discriminating against disabled workers culminates in a Master

 28                   Consent Decree.

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   1           33.     WAL-MART has a decades-long history of systemic discrimination against its disabled

   2   and older workers that has become a standard operating procedure, an accepted way of doing business,

   3   and a deeply-embedded part of WAL-MART's corporate culture. Indeed, discrimination against

   4   disabled workers has been so widespread and common at WAL-MART that the federal government

   5   has repeatedly been forced to file enforcement actions against WAL-MART relating to its treatment of

   6   disabled workers. At all times, such discriminatory practices directly led to the harm suffered by the

   7   members of the Classes, as alleged herein.

  8           34.      In the late- 1990s and/or early-2000s, the federal government filed and litigated a series

  9    of disability discrimination cases alleging violations of the federal disability discrimination law - the

 10    Americans with Disabilities Act (ADA) - against WAL-MART. Some of these cases alleged a

 11    systemic, widespread pattern and practice of discrimination against disabled workers by WAL-MART.

 12    Upon information and belief, some of the cases filed by the federal government against WAL-MART
 13    during that time period include, inter alia:

 14           • E.E.O.C. v. Wal-Mart Stores, Inc.., .Case;.N.o.,.S99-0414 GBB DAD (E.D. Cal.);
 15           • E.E.O.C. and James Bernard v. Wal-Mart Stores, Inc., Case No. 01-0869-DW (W.D. Mo.)

 16           • E.E.O.C. and William Darnell and Jeremy Fass v. Wal-Mart Stores, Inc., Case No. CIV 98-
 17           0276 TUC WDB (Ariz.) (the Darnell/Fass matter);
 18           o E.E. 0. C. v. Rut/zie Gilmore v. Wal-Mart Stores, Inc., d/b/a Wal-Mart Distribution Center,

 19           Case No. C2-01-0094 (S.D. Ohio);
 20           • E.E. 0. C. and Mary Baker v. Wal-Mart Stores, Inc., Case No. 01-5030 (W.D. Ark.);

 21           • E.E.O.C. and MarjorieArbuckle v. Wal-Mart Stores, Inc., Case No. 01-075-A (E.D. Va.);

 22           • E.E.O.C. v. Wal-Mart Stores, Inc., Case No. 5:01-CV-90-BO(3) (E.D. N.C.);

 23           • E.E.O.C. v. Wal-Mart Stores, Inc., Case No. 98 C 7023 (N.D. Ill.);
 24           O   E.E.O.C. v. Wal-Mart Stores, Inc., Case No. 99-CIV-043 (Sc) (W.D. N.Y.);

 25           • E.E.O.C. v. Wal-Mart Stores, Inc., Case No. CIV 01-0381 ELM/RLP (D. N.M.);

 26           • E.E.O.C. v. Wal-Mart Stores, inc., Case No. CV 01-1104 PI-IX PGR (D. Az.);
 27           • E.E.O.C. v. Wal-Mart Stores, Inc., Case No. CV C-01-0255 CW(N.D. Cal.);

 28           • E.E.O.C. v. Wal-Mart Stores, Inc., Case No. 4:0ICV0142IDJS (E.D. Mo.); and

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   1           • E.E. 0. C v. Wa/-Mart Stores, Inc., dibla Wal-Mart Distribution center #6012; Wa/-Mart

   2           Stores, Inc., Case No. CV EP-01-CA-0188-EP (W.D. Tex., El Paso Division).

   3           35.     in or about December of 2001, the federal government and WAL-MART entered into a

   4    comprehensive "Consent Decree" (hereafter, the Consent Decree) to settle the series of actions

   5    between the E.E.O.C. and WAL-MART (other than the Darnell/Fass matter). Attached hereto and

   6    marked as Exhibit "A" is a true and correct copy of the Consent Decree.

   7.          36.    Among other things, the Consent Decree required WAL-MART to make substantial

   8    changes to its existing way of business that would promote the employment of disabled workers and

   9    stop the widespread discrimination against disabled workers. Thus, for example, the Consent Decree

  10    required a series of nationwide reforms within WAL-MART including, inier alia:

  11           • ADA Coordinator:. WAL-MART was required to hire an individual with expertise in both

  12           the ADA and personnel matters to become WAL-MART's nationwide ADA Coordinator. The

  13           ADA Coordinator was required, inter alia, to: coordinate WAL-MART's compliance with the

  14           ADA; ensure WAL-MART cornplied.with the Consent Decree; assist in developing revised

  15           ADA policies and in developing and implementing an ADA Training Program; make all

  16           decisions regarding an alleged undue hardship in providing reasonable accommodations;

  17           resolve employee disputes regarding a denial of a requested accommodation; and act as a

  18           liaison with, and provide reports and updates to, the Special Master who was to oversee

  19           compliance with the Consent Degree obligations. Exhibit "A" at 111154-55.

  20           e ADA Policies & Procedures: WAL-MART was required to replace its existing ADA and

  21          disability policies with a consolidated policy that complies with the ADA and the disability

  22           laws, which new policy was, inter alia, to: include information about the internal ADA

  23           complaint procedures; constitute an ADA-compliant policy and contain ADA-compliant

 24           procedures for reasonable accommodations; require WAL-MART managers to engage in the

 25           interactive process with employees or applicants to determine an appropriate reasonable

 26           accommodation; and include an appeal process for denials of reasonable accommodations.

 27            Exhibit "A" at 1161. Moreover, WAL-MART was required to take significant action in

 28           disseminating and publishing its new policies and procedures required by the Consent Decree.

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   1       Exhibit "A" at 1162. WAL-MART's existing written disability and reasonable accommodation

   2       policies and procedures are derived from, and the direct result of, the changes required of

   3       WAL-MART under the Consent Decree.

   4       • Staff Iraining & Development: Recognizing the fact that WAL-MART's workforce was

   5       inadequately trained to comply with disability laws, the Consent Decree required WAL-MART

   6       to provide disability rights and ADA training to its management employees in stores and

   7       distribution centers, its personnel managers, and any individual involved in the hiring process

  8        at the stores or distribution centers. The required annual disability training was to include,

  9        inter alia: an overview of the ADA, WAL-MART's obligations under it and applicant or

 10        employee rights under it; reasonable accommodations; procedures for addressing reasonable

 11        accommodation requests; examples of accommodations; awareness training on issues affecting

 12        employees or applicants with disabilities; and WAL-MART's commitment to meeting the

 13        ADA's requirements and to engaging in an good faith interactive process with employees or

 14        applicants. WALMART. was alsq.required to provide in-depth ADA training to Regional

 15        Personnel Managers annually, and this training was to discuss the interplay between the ADA,

 16        Worker's Compensation, and the Family and Medical Leave Act. Thereafter, the Reonal

 17        Personnel Managers or the ADA Coordinator were to provide similar ADA training in each

 18        Region. Likewise, WAL-MART was to develop a Coinputer-J3ased Learning Module

 19        addressing the ADA, and the Reasonable Accommodation process. WAL-MART was then

 20        required to ensure that all participants in the hiring process first reviewed a Computer-Based

 21        Learning training module and passed a test on the reasonable accommodation process before he

 22        or she was allowed to participate in the hiring process, as well as to include training on the

 23        ADA's requirements in its new hire orientation. Exhibit "A" at 163-73.

 24        • Abolition of the "Matrix of Essential Job Functions" and Creation of Anuronriate. Non-

 25       Discriminatory Job Descriptions: Previously, WAL-MART had used a document entitled

 26       "Matrix of Essential Job Functions" (the Matrix) which had the puipose and/or effect of

 27       discriminating against disabled workers by disqualifying them from positions as it result of

 28       disability-based limitations (without regard to whether or not they could be accommodated in

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   1           the positions). The Consent Decree required WAL-MART to stop using the Matrix or any

   2           similar document in making employment decisions. As part of the elimination of the Matrix,

   3           WAL-MART was required to develop job descriptions for all jobs in its stores and distribution

   4           centers that were job related and consistent with the job's actual requirements. Exhibit "A" at

   5           111 56-60.
   6           • Posting of Notice: WAL-MART was to post a "Notice of Non-Discrimination" in a

   7           conspicuous location at every store and distribution center nationwide explaining the terms of

   8           the Consent Decree. Exhibit "A" at 1175. A true and correct copy of this "Notice of Non-

   9           Discrimination" is attached as Exhibit "G" to the Consent Decree that is attached hereto as

  10           Exhibit "A."

  11           37.     At bottom, a core purpose of the Consent Decree was to make company-wide changes

  12   within WAL-MART to ensure that it complied with the disability rights laws, ensured proper and non-

  13   discriminatory treatment of disabled workers, and properly trained and educated its workforce

  14   (including both regiDnal and locaL.store management) on how to engage in a proper interactive process

  15   and provide needed reasonable accommodations. Unfortunately, years later, this case is yet another
  16   example of the fact that, to this day, WAL-MART has still refused to make the company-wide changes
  17   envisioned by the Consent Decree.

  18

  19          2.      Late-1990s to early-2000s: The L?arnell/Fass Consent Decree and WAL-MART's
                      violation of the Consent Decree.
  20

  21          38.     in January 1999, WAL-MART and the federal goverrnnent entered into a separate,

  22   additional consent decree arising from the action entitled E.E.O.c. and William Darnell and Jere,ny

  23   Fass v. Wal-Mari Stores, Inc., Case No. CIV 98-0276 TUC WDB (Ariz.). Attached hereto and marked

 24    as Exhibit "B" is a true and correct copy of this Consent Decree (hereafter referred to as the

 25    Darnell/Fass Consent Decree). The Darnell/Fass matter alleged, inter alia, that WAL-MART had

 26    failed to make reasonable accommodations regarding hearing-impaired employees or applicants,

 27    including fiiling to have hearing-impaired accessible materials, manuals, policies, etc.
 28 1/1

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      1           39.     Under the Darnell/Fass Consent Decree, WAL-MART was required, inter a/ia, to:

      2   revise its general and specialized training materials to render them accessible and useable by hearing-
      3   impaired employees or applicants; develop a set of Computer-Based Learning Modules for hearing-
      4   impaired employees or applicants; and install a teletype telephone (TTY) for use by hearing-impaired
      5   applicants or employees in the stores into which Darnell and Fass were to be hired. Exhibit "B" at
      6   11117-19. WAL-MART was also required to timely report its progress in complying with the
      7   Darnell/Fass Consent Decree. Exhibit "B" at ¶28.

      8           40.    Despite agreeing to the foregoing, WAL-MART broke its promise to the federal
   9      government and the District Court overseeing Darnell/Fass. Thus, in or about June 2001, the District

  10      Court judge presiding over the Darnell/Fass matter imposed monetary sanctions of $750,000 against

  11      WAL-MART for failing to comply with the Darnell/Fass Consent Decree. E.E.O.0 v. Wal-Mart

  12      Stores, Inc. (D. Az. 2001) 147 F. Supp.2nd 980, 983. In support of this sanction, the District Court

  13      noted that WAL-MART had "failed to timely report on the steps it has taken in order to comply with
 14       the Consent Decree'.' whichniide it "difficult to know entirely how it has complied." Id. at 982. Still,.
 15       and even absent the proper reporting by WAL-MART, the District Court nonetheless found the
 16       following violations by WAL-MART of the Darnell/Fass Consent Decree:

 17              As for providing Intervenors with accommodations, including interpreters for
                specified training and meetings, and an in-store teletype telephone ("TTY"), the
 18              evidence is less clear. While Wal—Mart provided them with interpreters during
                 their training and installed TTYs, no interpreter or alternative means of
 19             communication was provided after their training was completed, although one was
                required for any meeting scheduled 24 hours in advance. As a result, William
 20             Darnell had no means of learning what was being said at daily crew meetings,
                other than hastily written notes, after the fact, by his supervisor. These notes were
 21             grudgingly given and often made Mr. Darnell late beginning work. Because the
                notes given to him were often incomplete, Mr. Darnell did not know changes in
 22             stocking procedures, shift times or other issues, making it much more difficult to
                do his job. Moreover, rather than provide flexible accommodations to Mr. Darnell,
 23             it appears that Wal—Mart attempted to "warehouse" Mr. Darnell by only permitting
                him to work in a certain area of the store, instead of rotating through the various
 24             arcas like his co-workers. This led to his being viewed as different or less-abled by
                his co-workers and customers. Mr. Darnell has since left his employment with
 25             Wal—Mart. Mr. Fass has also left Wal—Mart.
 26             Moreover, it is clear that Wal—Mart has failed to comply with the letter of the
                Consent Decree concerning the training of its staff in the requirements of the ADA
 27             and in communication methods with the hearing-impaired. This training was to
                have occurred wjthin 180 days of the signing of the Decree. Wal—Mart has claimed
 28             that the legal l)omiion of the ADA training was not completed in a timely'fashion

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              because the staff attorney who had been slated to conduct the training had an
              extended maternity leave. This explanation is insufficient for a company as large as
  2           Wal—Mart, who in addition to corporate counsel has retained counsel in Arizona
              who are perfectly capable of conducting such training. Additionally, Wal—Mart
  3           failed to contact any of the three outside trainers named in the Consent Decree to
              train personnel, and videotape their training session, so that it could be shown to
  4           the Intervenors' co-workers. This was to have been done within 30 days of the
              signing of the Decree. Considering that this training was intended to aid
  5           Intervenors' after beginning work with Wal—Mart, the company's non-compliance
              is inexcusable.
  6
              Likewise, Wal—Mart has failed to translate its CBLs as it agreed to do. Although
  7           there is some evidence that Wal—Mart asked if it could translate the CBLs into
              English text, rather than include an ASL translation, there is no evidence that
  8           Wal—Mart made a formal request to the Plaintiff or filed a motion to modif' the
              Decree before the deadline for compliance. Id. at 982-983.
  9
              41.     Based on the above findings, the District Court, inter alia: (a) imposed sanctions of
 10
      $750,000 on WAL-MART, representing $100 per day for each of the 22 stores in a specified
 11
      geographic region for each of the 341 days that WAL-MART had been in violation of the Darnell/Fass
 12
      Consent Decree; (b) awarded reasonable attorneys fees and costs to the EEOC and others whose work
 13
      had- been necessary to ensure full compliance with the Darnell/Fass Consent Decree; (c) ordered
 14
      WAL-MART to prepare film and air a television commercial stating the purposes of the ADA, that
 15
      WAL-MART has in the past violated the ADA, and referring people who believe that they have been
 16
      discriminated against on the basis of disability to the E.E.O.C. and the Arizona Center for Disability
 17
      Law; and (d) extended the duration of the Darnell/Fass Consent Decree for an additional eighteen (18)
 18
      months. Id. at 983-984.
 19

 20          3.      2005: During the term of the Consent Decree, WAL-MART continues to
                     discriminate and, indeed, is found by a federal jury to have discriminated against
 21                  a disabled worker. The District Court affirmed the jury's finding of
                     discrimination and its imposition of punitive damages against WAL-MART.
 22

 23          42.     During the terms of the Consent Decree, WAL-MART continued to discriminate
 24   against disabled workers in violation of both the law and the explicit prohibitions set forth in the
 25   Consent Decree. As just one example, in or about early- to mid-2005, a federal jury found that WAL-
 26   MART discriminated against a disabled worker, subjected him to a hostile work environment, failed to
 27   provide him with reasonable accommodations and asked him unlawful questions as part of the hiring
28    process. Brady v. Wal-Mart Stores, Inc. (ED. N.Y. 2006) 455 FSupp.2d 157, 164. The jury's verdict

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   1   included $5,000,000 in punitive damages, $2,500,000 in compensatory damages, and $9,114 for lost

   2   back pay, resulting in a total verdict of over $7,500,000. Ibid.

   3          43.     The District Court judge who presided over the trial had the following to say about

   4   WAL-MART and observed with great prescience the fact that the federal disability discrimination

   5   law's caps on the amount of punitive damages rendered federal law an ineffective deterrent against

   6   WAL-MART's continued abuse of disabled workers:

   7          Despite entering into a consent decree to settle previous complaints of ADA violations,
              Wal-Mart asked Brady the same type of prohibited questions it had previously agreed to
   8          abandon, and its employees were entirely ignorant of the anti-discrimination policies that
              Wal-Mart had previously agreed to disseminate. Moreover, WAL-MART's witnesses
   9          virtually to a person displayed a surprising inability or unwillingness to acknowledge
              Brady's disability, which was apparent to all others. Observing the testimony, I frankly
  10          found several of WAL-MART's witnesses to be wholly incredible in attesting to ignorance
              of Brady's disability. The most generous conclusion I could draw from the testimony in
  11          this case—and the conclusion I did draw—was that the Wal-Mart employees who testified
              are well-intentioned people whom the company willfully failed to provide with sufficient
 12           training to abide by the anti-discrimination law.

  13          The result was that Brady was subjected to the kind of discrimination against the
              disabled that both the law and the prior consent decree were designed to prevent
 14      -    Brady will receive adequate compensation for that discrimination. But in the ..
              absence of the effective punitive sanctions that are available against smaller
 15           companies, itappears unlikely that the award in this case can suffice to restrain
              Wal-Mart from inflicting similar abuses on those who may be doomed to follow in
 16           Brady's footsteps. Brady v. Wal-Mart Stores, Inc. (E.D. N.Y., June 21, 2005) CV-
              03-3 843 (JO) [2005 WL 1521407, at pp. *4.5].
 17

 18           Moreover, in affirming the imposition of punitive damages against WAL-MART, the District

 19    Court specifically noted that, given the Consent Decree obligations which were admitted into evidence

 20    in the trial, WAL-MART was obviously aware of its obligations under the disability laws yet still had

 21    not adequately trained its employees on compliance with the requirements of these laws. Brady, 455

 22    F.Supp.2d at 178-179.

 23

 24           4.      November 2005: The month before the natural expiration of the Consent Decree,
                      WAL-MART's Executive Vice President of Benefits (Susan Chambers) pitches to
 25                   WAL-MART's Board of Directors strategies to continue WAL-MART's corporate
                      culture of discrimination against disabled workers. Instead of disciplining
 26                   Chambers and repudiating her discriminatory stance, WAL-MART ratifies her
                      conduct and promotes Chambers to become WAL-MART's Executive Vice
 27                   President for WAL-MART's Global People Division.

 28    III

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   1           44.     The duration of the Consent Decree was four (4) years from the date of its entry.

  2     Exhibit "A" at ¶87. Thus, it was set to expire naturally by its terms in December 2005. Exhibit "A" at

  3    1187 and p. 26. As the Consent Decree was approaching its natural expiration, WAL-MART already
  4     had in place a plan to ramp up its discriminatory practices and its corporate culture of discrimination.

  5            45.     In November 2005 - the very month before the Consent Decree was to expire - at the
  6     WAL-MART Board of Directors Retreat for the Fiscal Year 2006, Susan Chambers (WAL-MART's
  7     then-Executive Vice President of Benefits) presented a memo and made a presentation to the Board

  8    (hereafter, the Chambers Memo or the Memo) that was the result of months of work by Chambers and

  9 her fifteen-person team drawn from across the company. Attached hereto and marked as Exhibit "C"
 10    is a true and correct copy of the Chambers Memo.
 11            46.     The Chambers Memo reveals a corporate culture of discrimination against, and
 12    disregard for, the rigbts of disabled workers reaching, and spreading down from, the highest levels
 13    within WAL-MART. It contains many statements reflecting discriminatory animus, and shows a
 14    corporate culture of not only tolerance of— but even explicit encouragement.of—.discrimination
 15    against disabled workers and disregard of their rights. In her memo, Executive Vice President
 16    Chambers directly advocated to the Board of Directors for continued - indeed, increased -
 17 discrimination against disabled workers.
 18            47.    In her Memo to the Board, Executive Vice President Chambers explicitly urged
 19    continued employment-decision-making designed to discourage "unhealthy" (i.e., disabled) workers

 20    from seeking or continuing to work for WAL-MART while, corresponding, to encourage "healthy"
 21    (i.e., non-disabled) workers to seek and continue to work for WAL-MART.

 22           48.     Chambers lamented that "the least healthy, least productive Associates are more
 23    satisfied with their benefits than other segments and are interested in longer careers with Wal-Mart."
 24    Exhibit "C" at p. 6. Showing the corporate desire to eliminate disabled workers from its workforce,

 25    Chambers called it "[rn]ost troubling" that the "least healthy, least productive Associates are more

 26    satisfied with their benefits than other segments and are interested in longer careers with Wal-Mait"
 27    Exhibit "C" at p. 1, 2" bullet point. Conversely, Chambers disappointingly concluded that the
 28    "healthy" (i.e., non-disabled) workers "were planning shorter careers with Wal-Mart." Exhibit "C" at

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       I    p. 6. Chambers' Memo posited that "healthy" workers are the "most attractive Associate segment

   2 : because they cost WAL-MART less in terms of healthcare expenses and are more productive in their
   3        jobs," and she advocated for taking steps to attract and retain "healthy Associates" while taking steps
   4        to discourage or dissuade supposedly "unhealthy" ones from applying for positions at or continuing to

   5        work for WAL-MART. Exhibit "C" at pp. 3 & 6.

   6                       As part of the efforts to discourage disabled workers and to attract and retain non-
   7        disabled workers, Chambers reviewed a series of so-called "bold steps." Exhibit "C" at pp. 11-16.

           Included within the so-called "bold steps" was taking action that would be viewed as "particularly
           attractive to the healthy, productive Associate segment" so as to encourage non-disabled workers to
  Iwant to work, and remain working, for WAL-MART. Exhibit "C" at p. 12.
  11                       Another of Chambers' "bold steps" was to "[r]edesign ... aspects of the Associate
  12       experience, such as job design, to attract a healthier, more productive workforce." Exhibit "C" at pp.
  13       3, 14 & 26. The Memo directly states that "Wal-Mart should seek to attract a healthier workforce,"
  14. ..and•one..way to do this was to "[d]esign all jobs to include some physical acti.vity:(eg.,.all cashiers do

  15       some cart gathering)......Exhibit "C" at p. 14. In other words, while still under the obligations of the
  16       Consent Decree - a Consent Decree that focused in part on the improper use ofjob descriptions (the
  17       Matrix) to weed-out disabled workers - WAL-MART's highest levels of executive management was
  18       determined to continue to design job descriptions in a way likely to weed-out disabled workers.
  19                       The Memo advocates for implementing other measures to retain the "healthier
  20       workforce" in part because doing so will result in "lower absenteeism through fewer sick days, and
  21       higher productivity." Exhibit "C" at p. 14. The Memo concludes that "[ut will be far easier to attract

  22       and retain a healthier workforce than it will be to change behavior in an existing one" and states that
  23       "[t]hese moves will also dissuade unhealthy people from coming to work at Wal-Mart." Exhibit "C"
 24        at p. 14. The Memo suggests that "[e]ven a modest shift in WAL-MART's ability to attract and retain

  25       a healthier workforce could result in significant savings: $220 million to $670 million in FY 2011."
 26        Exhibit "C" at p. 14. The Memo concludes that as a result of its strategies and policies WAL-MART

 27        "will be more effective at attracting and retaining the healthy, productive workforce Wal-Mart wants"
 28        and states that "[t]aken together the limited-risk initiatives and the bold steps create a powerful set of

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     1   advantages for Wal-Mart." Exhibit "C" at p. 17.

     2           52.     Within her Memo, Chambers herself acknowledged that her strategies will have lasting

     3   impact for many years - indeed, decades into the future. Exhibit "C" at pp. 12 & 14 (recognizing

     4   fiscal impact of recommendation through year 2011).

 .   5           53.     Chambers' presentation of her Memo to the Board in November 2005 was not the first

     6   distribution of the Memo's culture of discrimination throughout WAL-MART. Rather, in July 2005,

     7   before presenting her Memo to the Board, Chambers presented the same information to WAL-

     8   MART's Executive Benefits Steering Committee which "received the recommendations

     9   enthusiastically and asked that [Chambers' team] share them widely within WAL-MART, something

 10      [Chambers' team had] begun to do." Exhibit "C" at p. 3. Thus, by its own admission, the

 11      recommendations set forth in the Chambers Memo circulated "widely within Wal-Mart" even before

 12      they were presented to the Board. Ibid.

 13              54.    But what is most telling about the Chambers Memo is not just the clear evidence within

         .it.of a corporate culture of discrimination reaching WAL-MARTs highest. levlsof executive

 15      management. What is even more shocking is WAL-MART's reaction to it. First, as stated above,

 16      WAL-MART's Executive Benefits Steering Committee "received the recommendations

 17      enthusiastically and asked that [Chambers' team] share them widely within Wal-Mart, something

 18      [Chambers' team had] begun to do." Exhibit "C" at p. 3. Second, and even more outrageous, WAL-

 19      MART as a company did nothing to repudiate the discriminatory mind set found within Chambers'

 20      Memo. Instead, it rewarded Chambers with a promotion.

 21             55.     The Chambers Memo was leaked to the press in real-time and it set off a firestorm of

 22      news articles. Stories ran about the Memo and its discriminatory animus in major media outlets like

 23      the New York Times, Newsweek, USA Today and CNN. For example, on October 26, 2005, CNN ran

 24      a story headlined "Wal-Mart memo: Unhealthy need not apply." One article, which published on

 25      www.TheLedgcr.com, was titled "Wal-Mart Memo 'A Cesspool of Violations,' Lawyer Says." Given

 26      the widespread nature of the press activity following the leak of the Memo, it is clear that the Memo's

 27      discriminatory nature came to the attention of all of WAL-MART's upper executive management.

 28      Indeed, articles about the Memo quote some of WAL-MART's highest-ranking executives.

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   1                   Nonetheless, WAL-MART took no meaningful action to repudiate the corporate culture

   2   of discrimination found embedded within Chambers' Memo. WAL-MART did not discipline

   3   Chambers in any way, shape or form for advocating for a culture that tolerates and even encourages

   4   discrimination against disabled and older workers. Instead, in April 2006, within a matter of months

   5   of her presentation to the Board in November of 2005, WAL-MART promoted Chambers to its

  6    Executive Vice President for the Global People Division - in effect, the highest-ranking human

  7    resource professional worldwide within WAL-MART.

  8                    Ironically, and tragically for disabled workers and the members of the Classes, to this

  9    day, and despite her articulated bias against attracting and retaining disabled and longer-tenured (older)

 10    workers, WAL-MART boasts that Chambers "is responsible for manang, attracting and retaining the

 11    nation's largest private workforce" and that Chambers' responsibilities include "human resource

 12    culture" and that she "is also responsible for Walmart's Global Diversity Office." Exhibit "D." Upon

 13    information and belief, WAL-MART not only promoted Chambers, it also implemented or continued

       to use her Memo's strategies.



 16            5.      WAL-MART's continued discrimination, and continued and re-invigorated
                       corporate culture of discrimination, following the Chambers Memo to the present.
 17

 18                   The continued corporate culture of discrimination against disabled workers at WAL-

 19    MART, including the members of the Classes, is seen in various policies or practices WAL-MART

 20    continues to maintain to this day despite its clear knowledge and awareness of its obligation to comply

 21    with the disability laws as repeatedly confirmed by the series of consent decrees WAL-MART has

 22    entered into with the federal government.

 23                   As just one example, to this day, WAL-MART continues to maintain an informal policy

 24    or practice under Which it maintains it has the right to replace employees who require medical leaves

 25    that last longer than the twelve (12) weeks guaranteed by the Family and Medical Leave Act and/or the

 26    state law equivalents (like the California Family Rights Act). WAL-MART's policy ignores and

 27    violates its independent obligation to grant a leave of absence under the disability laws separate and

 28    apart from the medical leave laws.. Under both federal and state law, a company must provide a

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      I 1 reasonable accommodation leave of absence beyond the statutory leave laws' twelve weeks of leave

   2     unless doing so would impose an undue hardship on the company. Moreover, the Consent Decree

   3     required training on the interplay between the statutory leave laws and the separate and distinct

   4     disability accommodation laws, and it further required during its term that WAL-MART have its ADA

   5     Coordinator make all decisions regarding undue hardship to ensure that the company properly

   6     evaluated its own alleged claims of undue hardship. Exhibit "A" at 1154-55 & 63-73. Still, to this

   7     day, WAL-MART continues to engage in this illegal practice of replacing employees on leave without

   8     conducting any real undue hardship analysis. Not only does this practice violate the law, it also sends

   9     the message to management that the company condones and encourages forcing out disabled workers
  10     when given the opportunity to do so - rather than permitting them adequate time to heal and recover

  11     from their disabilities.

  12             60.     As another example, when an employee with a disability is unable to continue
  13     performing the essential functions of his or her current position, the disability accommodation laws
  14j require that the employer give preferential treatment and make affirm1ive efforts to place the

  15     employee in another open vacant position for which the employee is qualified. WAL-MART's

  16     policies in this regard, however, violate the law's clear requirements.
 17             61.     As another example, WAL-MART's formal accommodation process itself regularly
 18      violate's the law's requirement of a good-faith, timely interactive process. The interactive process
 19      required by law envisions a back-and-forth verbal exchange and discussion between the employee and
 20      the employer in a mutual effort to detennine whether effective accommodations can be provided.
 21     WAL-M ART created its so-called Accommodation Service Center (ASC) supposedly to facilitate the

 22     interactive process and provision of reasonable accommodations to its employees. However, in reality,

 23     WAL-MART's ASC's process regularly violates the law's requirements. Typically, ASC will
 24     exchange written materials with the employee but nobody &om ASC engages in an actual, verbal

 25     interactive process with the employee.

 26

 27     I/I

 28     I/I

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      1    F.      WAL-MART and HEALTHWORKS Join Forces to Further Discriminate Against WAL-
                   MART'S Disabled and/or Injured Employees, While Violating Their Constitutional
      2            Rights to Privacy as Well, Through Unlawful Drug Testing Policies and Practices

      3
                          At all times alleged herein, WAL-MART has continued its efforts to discriminate
      4
           against disabled employees, including the members of the Classes, by maintaining an unlawful drug
      5
           and/or urine testing policy for the purposes of terminating disabled and/or injured employees.
   6
                          At all times alleged herein, WAL-MART has entered into agreements with
   7
           HEALTHWORKS to provide all of WAL-MART'S drug and urine testing of its employees in
   8
           California. As part of this agreement by HEALTHWORKS to provide WAL-MART all of its drug and
   9
           urine testing in California, HEALTHWORKS has explicitly and/or implicitly agreed to enforce all of
  10
           WAL-MART'S practices, policies and/or procedures related to the drug and/or urine testing of WAL-
  11
          MART'S employees and,specifically, those injured while at work for WAL-MART, including the
  12
          members of the Classes.
  13
                          At all times during the relevant time period, WAL-MART and HEALTHWORKS have
  14
          maintained unlawful policies and practices throughout all of WAL-MART'S stores in California
  15
          which requires that WAL-MART'S employees who are injured at work, including members of the
 16
          Classes, immediately submit to a drug and/or urine test through HEALTHWORKS within 24 hours of
 17
          such an incident without any evidence, or attempt to gather evidence, which may demonstrate that the
 18
          employee was intoxicated at the time of the incident. Pursuant to these policies and practices, if the
 19
          employee does not so submit to the urine or drug test with HEALTHWORKS within that 24 hour
 20
          period, the employee will be automatically terminated by WAL-MART. Attached hereto and marked
 21
          as Exhibit "D" is a true and correct copy of WAL-MART'S drug testing policy related to workplace
 22
          injuries in effect throughout California during the relevant time period.
 23
                         At all times, these policies, procedures and practices maintained by WAL-MART and
 24
          HEALTHWORKS were and are illegal because they ignores WAL-MART'S obligations under
 25
          California law to provide reasonable accommodations to employees who are disabled. In other words,
 26
          these policies and practices ignores that an injured and/or disabled employee, especially one who
 27
          requires medical leave and/or immediate medical attention, including the members of the Classes, may
 28

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        not be able to physically make themselves available to take an immediate urine or drug test with

   1    HEALTHWORKS due to their disabilities.

   3                    At all times, these policies, procedures and practices maintained by WAL-MART and

   4    HEALTHWORKS were and are also illegal because the requirement that such disabled and/or injured

   5    employees submit to a drug test, without good cause or reasonable suspicion that the employee was

   6   under the influence of any intoxicant, violates such employee right to privacy as provided to them by

   7    the Article I, § 1 of the California Constitution, as well as relevant legal decisions and holdings by the

   8   Occupational Safety and Health Administration and a number ofjudicial forums.

   9                   As evidenced by various lawsuits in California based on this unlawful drug test policy,

  10   including those filed during and/or since KENNY'S employment, WAL-MART and

  11   HEALTHWORKS were aware that such policies and practices were unlawful under California law.

  12   However, despite their knowledge of the illegality of such policies and practices, WAL-MART and

  13   HEALTHWORKS continued to engage in such unlawful conduct resulting in continued violations of

  14   the privacy rights of WAL-MART's employees .and HBA.EI'HWORKS patients, including KENNY

  15   and the members of the Classes.

  16                   While enforcing these unlawful policies, WAL-MART and HEALTHWORKS required

  17   KENNY and the members of the Classes to immediately submit to an unlawful drug and/or urine test

  18   within 24 hours of them suffering their workplace injuries within the scope of their employment with

  19   WAL-MART. Where such members of the classes refused and/or failed to immediately submit to such

  20   unlawful drug and/or urine tests, pursuant to WAL-MART'S policies, they were immediately

 21    terminated. In so doing, WAL-MART refused to reasonable accommodate members of the Classes

 22    who could not immediately submit to such tests with HEALTHWORKS due to their injuries and/or

 23    disabilities, and their requests for reasonable accommodations in the form of medical care or treatment.

 24    Where other members of the Classes submitted to such unlawful drug and/or urine tests with

 25    HEALTHWORKS, their privacy rights were unlawfully violated and/or they were then too terminated

 26    as a result.

 27

 28

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   I           69.     At all times, such knowing and intentional unlawful conduct by WAL-MART and

  2, HEALTHWORKS, as described herein, directly led to KENNY'S and the members of the Classes'

  3     terminations and/or a violation of their privacy rights, and the damages they have suffered as a result.

  4

  5                                  KENNY'S INDIVIDUAL ALLEGATIONS

  6

  7    I A.    KENNY Becomes Disabled and Notifies WAL-MART of His Disability

  8

  9            70.     KENNY was employed by WAL-MART as a regular employee from July 2015 through

 10     Januaxy 2016. Throughout his employment with WAL-MART, KENNY worked withm the front end

 11     of WAL-MART's store located at 1120 South Mt. Vernon Avenue, Colton, California 92324. \Vhile

 12     working in the front end, KENNY worked with maintenance, organizing and gathering carts,

 13     performing carry outs, performing carry ins and performed express refunds. At all times while

 14     performing such duties for WAL-MART's benefit) KENNY was a satisfactory employee.

 15            71.     After working for WAL-MART for approximately two to three months, in our about

 16     late September 2015 or early October 2015, KENNY became disabled as a result of suffering a

 17     workplace injury within the course and scope of his employment. On this day, KENNY injured his

 18     back while pushing carts and lifting a cabinet in customer service, all for WAL-MART's benefit.

 19            72.     As a result of his workplace injury, KENNY notified his direct supervisor, who in turn

 20     told KENNY to speak to WAL-MART's personnel department. Immediately thereafter, KENNY was

 21     allowed to leave work to seek medical treatment.

 22

 23     B.     KENNY Begins Requesting Reasonable Accommodations for His Disability

 24

 25            73.     On the same day as his initial workplace injury in late September 2015 or early October

 26     2015, after being permitted to leave work early to seek medical treatment, KENNY then saw his

 27     personal physician. KENNY'S doctor then diagnosed him with a hack injury and took KENNY off

 28     work for the next few days. KENNY'S physician also placed him on light duly and provided KENNY

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   1   with lifting restrictions of no lifting over 10 pounds. KENNY immediately notified WAL-MART that

   2   his doctor had taken him off of work, and that he had been placed on such work restrictions, thereby

   3   requesting from WAL-MART reasonable accommodations in the form of medical leave, light duty and

   4   no lifting over 10 pounds.

   5           74.     In or about early October 2015, after suffering his workplace injuly and completing his

   6   short stint of medical leave, KENNY returned to work for WAL-MART. Upon his return to work,

   7   KENNY provided WAL-MART a doctor's note excusing his absence, confirming KENNY'S

   8   disability, and fonnally confirming KENNY'S requests for reasonable accommodations in the form of

   9   light duty and a work restriction of no lifting over 10 pounds.

  10
  11   C.      WAL-MART Unlawfully Denies KENNY'S Requests for Accommodation

  12

  13          75.     After turning in his medical paperwork to WAL-MART and making the request for an

  14   accommodation of no lifting over 10 pound,..WAL-MART refused to accommodation KENNY.

 15    Instead, WAL-MART consistently denied KENNY'S requests for accommodations and refused to

  16   accommodate him, despite its ability to do so without suffering any undue hardship.

 17           76.     At all times, WAL-MART was capable of, and could have, provided KENNY

 18    numerous positions and/or tasks, whether in the same store or in another store within the same

 19    geographic region, that would have accommodated KENNY without forcing WAL-MART to suffer

 20    any undue or unreasonable hardship. However, instead of providing said accommodations,

 21    aekiiowledge KENNY'S work restrictions or providing KENNY with any alternative duties, WAL-

 22    MART forced KENNY to keep performing the same job functions that he worked prior to becoming

 23    disabled, thereby also forcing KENNY to continue to lift over 10 pounds in order to remain employed

 24    and in direct violation of his work restrictions as provided by his doctor.

 25

 26

 27

 28
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   1    D.     WAL-MART Begins Unlawfully Retaliating Against KENNY Due to Becoming Disabled
               and Due to Requesting Reasonable Accommodations
   2

   3           77.     As a result of being denied his requests for reasonable accommodation, KENNY
   4    complained numerous times to his direct supervisors regarding WAL-MART's failure to accommodate

   5   him. Despite his complaints, WAL-MART kept providing KENNY with work assignments that
   6   directly violated his work restrictions and which failed to accommodate his disability, only causing
   7   more physical harm to KENNY.

   8           78.    After refusing him reasonable accommodations and ignoring his complaints regarding
   9   the same, WAL-MART began retaliating against KENNY due to his requests for accommodations
  10   and/or him informing WAL-MART of his disability. While prior to suffering his work place injury and
  11   prior to becoming physically disabled, KENNY had regularly received full-time hours, at or around 40
  12   hours of work per week, immediately after becoming disabled and requesting reasonable
  13   accommodation, WAL-MART retaliated against KENNY by reducing KENNY'S scheduled work
  14   hours and denying him the income .that.he had come to rely on previously. Around mid to late October
  15   2015, WAL-MART began cutting KENNY'S hours down to 20.or so hours of work per week.
 16           79.     After realizing his hours were being cut, KENNY then submitted a complaint to WAL-
 17    MART. In or about later October 2015 or early November 2015, KENNY complained to an assistant
 18    manager at the store about his hours being cut. In response, this assistant manager lied to KENNY and
 19    told him that the store was cutting hours of all the employees. However, such an explanation and/or
 20    rationale was clearly a pretext to discriminate against KENNY on the basis of his disability. At that
 21    time, KENNY observed that no other regular employees' hours were being cut and, in fact, most

 22    employees were receiving more hours. Moreover, the holiday season was approaching. As a result,
 23    WAL-MART had actually began increasing the hours of its regular employees and, additionally, hiring
 24    new employees to cover for all the additional work that typically came with the holiday shopping
 25    seas on between late October and early January.

 26           80.     Despite KENNY'S complaints about his hours being reduced, WAL-MART continued
 27    to discriminate and/or retaliate against KENNY for becoming disabled and/or request reasonable
 28    accommodations for his disability. After suffering his workplacc injwy and becoming disabled, from

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   1    October 2015 through the last month of his employment in Januaty 2016, KENNY'S hours decreased

   2    from a typical 40 hour work week to as few as 18 hours in one week in retaliating and discriminating

   3    against KENNY, WAL-MART effectively demoted KENNY from full-time hours to part-time hours,

   4   and deprived him of a significant amount of income for no reason other than his disability and/or

   5 II requests for reasonable accommodations.

   6

   7   E.      KENNY Suffers a Second Workplace Injury, Becoming Further Disabled

   8

   9           81.     On or about January 15, 2016, KENNY suffered a second workplace injury while

  10   performing work for WAL-MART's benefit within the course and scope of his duties. On this day,

  11   KENNY went to assist a couple of WAL-MART's customers who had brought a safe back to WAL-

  12   MART to return. KENNY asked for assistance from his supervisors to bring the safe off of the-
                                                                                                  he
  13   customers'
       customers' truck, but no one would assist him and he was left to complete the task on his own. Thus,

  14   in order to avoid potential injury..s.much as he could while performing his job to WAL-MART's.

  15   expectations, KENNY obtained a dolly to assist him in unloading the safe and transporting it.

  16   However, while unloading the safe from the customers' truck, KENNY re-injured his back.

  17

  18   F.      KENNY Requests Immediate Medical Treatment Due to His Second Workplace Injury,
               But is Denied His Request and Forced to Fill Out Paperwork Instead
  19
 20                    Afier re-injuring his back, KENNY immediately notified two of WAL-MART's

 21    managers, KENNY asked to immediately see WAL-MART's doctors at its medical clinic, but the

 22    assistant manager then told KENNY to sit down and fill out an in-store injury report instead.

 23                    While in immense pain, KENNY filled out the injury report as WAL-MART

 24    demanded. KENNY then again asked if he could see a doctor due to his pain. However, a manager and

 25    WAL-MART's personnel director then told KENNY that if he wanted to see a doctor, he would have

 26    to fill out a different workplace injury form. As such, per their demand, KENNY, while still in

 27    immense pain, filled out this second workplace injury lorm. After doing so, KENNY again asked if he

 28    could then see a doctor due to his pain, but, again, his request was rejected. instead, he was told he

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   1   would have to take a lunch, since he was still on the clock, and that they would complete the necessary

  2    paperwork once he returned from lunch which would then permit him to see WAL-MART's doctor.

  3            84.     For the next half of an hour, KENNY remained in pain, but waited with the expectation

  4    that, after his half of an hour lunch, he would then immediately be sent to see one of WAL-MART's

   5   doctors. However, upon his return, a manager and WAL-MART's personnel director simply told

  6    KENNY that he had to keep waiting because they still needed to finish up his paperwork. Because

   H   KENNY continued to be in immense pain and hadn't been able to see a doctor for more than hour

  8    since suffering his injury, KENNY then asked another member of WAL-MART's personnel office if

  9    he could leave to see his own doctor due to being in such pain. WAL-MART's member of the

 10    personnel department then told KENNY that ifhe felt he needed immediate medical attention, he

 11    could leave and obtain it. As such, after receiving permission to leave, KENNY left to go see a doctor

 12    and receive the medical attention that WAL-MART was refusing to provide him.

 13

 14    G. . KENNY .Requestsa)easonable Accommodation in the Form of Medical Leave as a
             Result of His Second Workplace Injury at WAL-MART
 15

 16            85.     Immediately after receiving permission to leave WAL-MART to seek medical attention,l

 17    KENNY then went to the emergency room at a nearby hospital. Upon receiving medical attention,

 18    KENNY'S physician diagnosed him with a lumbar spine sprain and thoracic spine sprain. As such,

 19    KENNY again was diagnosed as being physically disabled. At that time, KENNY'S physician also

 20    took KENNY off of work from for three days, from January 15, 2016 through January 18, 2016.

 21            86.    First thing the next morning of January 16, 2016, less than 24 hours since he had been

 22    injured on the job the day prior, KENNY then called WAL-MART on the telephone and spoke to one

 23    of his managers. On the phone with one of his supervisors, KENNY explained to WAL-MART about

 24    how he had left to see his own doctor the previous afternoon, after receiving permission to do so,

 25    because he was in such pain and needed immediate medical attention that he was not being provided.

 26           87.     On the morning of January 16, 2016, in communicating to WAL-MART that he had,

 27    again, become disabled, KENNY fuiiher explained that his doctor had diagnosed him a lumbar spine

 28    sprain and thoracic spine sprain, that he had doctor's note he wanted to turn and that his doctor's note

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      I   took him out of work from January 15, 2016 through January 18, 2016. KENNY then asked when he

  2       could come in to provide the doctor's note and when he could see WAL-MART's own doctor. In

   3      response, the manager told KENNY that it was "too late" to see WAL-MART's doctor and that

  4       KENNY should call in to speak to the assistant manager sometime between noon and 12:30 p.m.

  5               88.     Between 11:00 a.m. and 1:00 p.m. on January 16, 2016, still less than 24 hours since his

  6       injury, KENNY called in to WAL-MART and asked to speak to the assistant manager approximately

  7       six times. However, each time KENNY called in during this 2-hour time period, WAL-MART

  8       informed KENNY that the assistant manager was either busy or just unavailable.

  9

 10       H.      WAL-MART Unlawfully Discriminates Against KENNY, Retaliates Against KENNY and
                  Terminates KENNY Due to His Disabilities and/or His Requests for Reasonable
 11               Accommodations

 12

 13               89.    Because KENNY had been unable to speak with the assistant manager despite calling in

 14       numerous times the.preithous day, the next day, on January 17, 2016, KENNY then came back. to

 15       WAL-MART's store in hopes of being able to speak with the assistant manager.

 16               90.    Upon arriving to WAL-MART on the morning of January 17, 2016, KENNY swiped

 17       his ID card to clock in, but the badge did not work. As such, KENNY then went to the assistant
 18       manager's office to find out what was going on and to speak with the manager. After arriving at the

 19       assistant manager's office in the back of the store, both the assistant manager and the manager

 20       KENNY had spoken to the prior morning were present. KENNY explained that his badge was not

 21       working and that he had tried to contact the assistant manager multiple times the previous day.

 22              91.     After waiting approximately 15 minutes, the two managers called KENNY into the

 23       personnel office. Inside the office, they explained to KENNY that he had been terminated because he

 24       did not take a urine test within 24 hours after his injury. In response, KENNY immediately explained

 25       that their explanation for his termination did not make sense, especially since he had called into work

 26       to see WAL-MART's doctor the prior morning, which was well before 24 hours had passed since his

 27       workplace injury occurred. KENNY explained that the manager had told him the prior morning it was

 28       "too late" to see WAL-MART's doctor and that KENNY had tried to call in multipic times thereafter

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                                             CLASS ACTiON COMPLAINT
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   1       without success. In turn, the assistant manager merely confirmed that it was still "too late" to see

   2       WAL-MART's doctor and, likewise, confirmed KENNY'S termination.

   3                       At all times, KENNY could have performed all of the essential functions of the his
   4       position or another available position at WAL-MART's store, or another store within the same

   5       geographic region, to WAL-MART's satisfaction with a reasonable accommodation. Moreover, WAL-

   6       MART has maintained vacant positions at its stores which could have been provided to KENNY and

   7       which KENNY could have worked to WAL-MART's satisfaction with a reasonable accommodation.

   8   I   However, to date, WAL-MART has never offered KENNY an accommodation at KENNY'S store nor
   9       a vacant position at another one of its stores. Instead, WAL-MART discriminated and retaliated

  10       against KENNY by terminating him.
  11

  12       1.      WAL-MART'S History of Disability Discrimination and Unlawful Conduct in
                   Intentionally Maintaining Discriminatory Policies and Intentionally Refusing to Train its
  13               Employees as to Disability Laws, Created the Hostile Work Environment that KENNY
                   was Subjected to and Which Directly Led to Him Being Discriminated Against.on the
  14               Basiso1 His Disabilities
  15

 16                         At all times, a substantial factor in KENNY'S termination was: (a) WAL-MART's
 17        continued refusal to properly train and educate its workforce on disability rights in the workplace; and
 18        (b) WAL-MART's continued refusal to have a system in place that facilitates the provision of

 19        reasonable accommodation to its employees in a way that is consistent with the disability
 20        accommodation laws. Despite being provided numerous opportunities over the last decade and a half

 21        to cease such hannful practices through numerous state and federal lawsuits, consent decrees and/or

 22        agreements, WAL-MART has ignored such opportunities, continued to refuse to change its practices

 23        that harm its disabled employees and continued to do as little as possible to prevent disability

 24        discrimination at its stores, including at the store KENNY worked at.

 25                       Through WAL-MART's historical and ongoing refusal to change and/or remedy its

 26        practices and policies that harm disabled employees, such as KENNY, while, at all times, knowing that
 27        its practices, policies and procedures result in such adverse affects, it is clear that WAL-MART does

 28        not merely fail to take all reasonable steps to prevent disability discrimination in the workplace, but,

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        even worse, WAL-MART intentionally creates a workplace that will discriminate against disabled

   2    employees, all in hopes of increasing its own profits. It is this intentional conduct that directly led to

   3    KENNY'S circumstances and the unlawful conduct WAL-MART subjected her to.

   4            95.     To this day, WAL-MART still engages in such unlawful conduct despite being aware,

    5   and continuing to be aware, that its established policies and its continuing refusal to train its

   6    employees, as described above, still lead to disabled employees being discriminated against. To this

   7    day, WAL-MART still intentionally engages in such discriminatory conduct and refuses to act to

   8    protect its disabled employees, such as KENNY, all in an effort to encourage and/or ensure that it rids

   9    itself of disabled employees pursuant to its belief that such disabled employees are more costly and/or

  10    are less productive than "healthy" employees.

  11            96.     In short, the very core issues that the federal government addressed with WAL-MART

  12    years ago still plague the company to this day and, in fact, directly led to KENNY being discriminated

  13    against and unlawfully terminated by WAL-MART based on her disabilities and/or requests for

  1.4   reasonable.accommodations. WAL-MART's general policies which discriminate against4isabled

 15     employees such as KENNY, as well as its intentional failure to train its employees as.-to relevant

 16     disability laws, directly resulted in the hostile work environment,, discrimination and retaliation

 17     KENNY was made to suffer as a result of her disabilities.

 18

 19     J.     WAL-MART'S Requirement that KENNY Submit to a Drug Test Within 24 Hours of
               His Workplace Injury Amounts to an Unlawful Practice and an Unlawful Jnvasion of
 20            KENNY'S Privacy Rights by WAL-MART and HEALTH WORKS

 21

 22            97.     WAL-MART's puiported reason for terminating KENNY, even if true, is also illegal as

 23     a result of WAL-MART'S and HEALTFIWORKS' unlawful urine and/or drug test policies.

 24            98.     At the time of his workplace injury, KENNY was disabled. Due to his disability,

 25     KENNY was not immediately able to submit to a drug test with HEALTHWORKS and, instead,

 26     informed WAL-MART that he needed immediate medical treatment, thereby requesting a reasonable

 27     accommodation, which WAL-MART relused to provide him. Accordingly, by terminating KENNY as

 28     a result of failing to immediately submit to to a drug test, WAL-MART discriminated against KENNY

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   1    for being disabled and/or unlawfully denied KENNY the reasonable accommodation he had requested,

   2   terminating him instead. Such discriminatory animus by WAL-MART is especially obvious in light of

   3   the fact that, while KENNY could not immediately submit to the drug or urine test, he still made

   4   himself available to take a drug test within 24 hours of his injury, yet was terminated by WAL-MART

   5   regardless for refusing to immediately submit to the drug test with HEALTHWORKS.

   6           99.    WAL-MART's requirement that KENNY submit to a drug test, without good cause or

   7   reasonable suspicion that he was under the influence of any intoxicant, was also illegal because it

   8   violated KENNY'S rights to privacy as provided to him by the California Constitution, as well as
   9   relevant legal decisions holdings by the Occupational Safety and 1-lealth Administration and various

  10   other legal forums. Due to KENNY'S privacy rights, at no time, without the gathering of specific,
  11   objective facts that create a rational inference that KENNY was intoxicated, was KENNY required

  12   under California law to submit to WAL-MART's demand for his immediate drug or urine test through
  13   HEALTHWORKS. Because, at the time of KENNY'S termination, neither WAL-MART or

  14. ,;HEA-LTHWORKS possessed good cause or any reasonable suspicion.to warranvsuch..a drug test,
  15   KENNY could not be lawfully terminated for refusing to submit to said unlawful drug test.
  16          100. Because the demand that KENNY submit to a drug test lacked the requisite good cause
  17   necessary to demand such a test under California law, WAL-MART'S and HEALTHWORKS'

  18   conduct amounted to an unlawful invasion of KENNY'S privacy. Moreover, WAL-MART'S

 19    requirement for a drug test was also especially invasive and unwarranted because KENNY'S
 20    workplace injuly was very unlikely on its face to have been caused by any drug use, even if any had

 21    existed, which it did not. Thus, among other reasons, WAL-MART and HEALTHWORKS invaded

 22    KENNY'S rights to privacy and, further, WAL-MART unlawfully terminated KENNY in retaliation

 23    for refusing to immediately submit to WAL-MART's unlawful demand for an unjustified drug test.
 24

 25    K.     Summary of KENNY'S individual Allegations
 26

 27           101. In October 2015, KENNY infonned WAL-MART of his disabilities and updated it as
 28    to his medical status. After being released back to work, KENNY requested reasonable

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                                          CLASS ACTiON COMPLAINT
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       I accommodations, which WAL-MART denied without justification. Instead, WAL-MART began
   2    retaliating against KENNY by reducing his scheduled work hours. Then, after becoming re-injured in
  3     January 2016 and notifying WAL-MART of such, WAL-MART and HEALTHWORKS attempted to
  4     invade KENNY'S privacy rights, and, thereafler, WAL-MART immediately terminated KENNY
   5    relying on false and unlawful justifications. WAL-MART consistently failed to accommodate KENNY
  6     despite its ability to do so without undue hardship. Instead of accommodating KENNY, WAL-MART
  7     fabricated false and unlawful reasons to terminate KENNY, resulting in WAL-MART unlawfully
  8     denying KENNY the reasonable accommodations he was owed and, thus, discriminating and
  9     retaliating against KENNY on the basis of his disabilities and/or his refusal to immediately submit to
 10     WAL-MART'S and HEALTHWORKS' demands for an unlawful drug and/or urine test.
 11            102. WAL-MART'S decision to discriminate and retaliate against KENNY, and terminate
 12    him, were made in total disregard and oppression of KENNY'S rights and welfare. Likewise, WAL-
 13    MART'S decision to fabricate false reasons to justify his termination was also made in total disregard
 :14        oppression of KENNY'S rights and welfare. Lastly, WAL-MART'.S.:andH.EALTHWORKS
 15    efforts to violate KENNY'S privacy rights was also made in total disregard and oppression of
 16    KENNY"S rights and welfare. As a result of these circumstances, KENNY has sustained and
 17    continues to sustain significant damages, harms and losses. The full extent of KENNY'S damages will
 18    be subject to proof at trial.
 19

 20                                         FIRST CAUSE OF ACTION
 21                      DISABILITY DISCRIMINATION IN VIOLATION OF FEHA
 22                                    AND GOVERNMENTCODEE4 12940(a)
 23                                    (Against WAL-MART and DOES 1- 10)
 24            103. As a separate and distinct cause of action, Plaintiffs complain and reallege all the
 25    allegations contained in this complaint, and incorporate them by reference into this cause of action as
 26    though fully set forth herein, excepting those allegations which are inconsistent with this cause of
 27 action.

 28

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                                           CLASS ACTION COMPLAINT
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      1                     At all times relevant to this action, Plaintiffs and the members of the Classes had actual
      2     and/or perceived physical and/or mental disabilities within the meaning of Government Code §
      3     12926(m) and 12926.1, and the California Fair Employment and Housing Act (FEHA).
      4                     Plaintiffs are informed and believe, and based thereon allege, that WAL-MART
      5     discriminated against and/or terminated Plaintiffs and the members of the Classes because of their
      6    actual and/or perceived disabilities and/or because it believed them to be disabled in violation of the
     7     FEHA and California Government Code § 12940 (a).
     8                      At all times, WAL-MART was aware of Plaintiffs and the members of the Classes'
     9
   I disabilities and/or perceived them to be disabled, as set forth above, because they had informed WAL-
 10 MART of their disabilities during their employment and/or because they had injured themselves within
 11        the scope of their employment with WAL-MART.
 12                        WAL-MART discriminated against Plaintiffs and the members of the Classes on the
 13        basis of their actual and/or perceived disabilities by, inter alia, terminating their employment because

           of such actual and/or perceived disabilities, failing to provide reasonable accommodations to them

           despite the availability of such without undue hardship and applying unlawful policies to them,
 16        including the requirement that they submit to unlawful urine and/or drug testing.
 17                        At all times mentioned herein, Plaintiffs and the members of the Classes were willing
 18       and able to perform the essential duties and functions of their positions and/or the positions sought or
 19       available.
 20                        At all times, ,WAL-MART knew, or should have known, that the conduct, acts, and
 21       failures to act of WAL-MART and/or WAL-MART's owners, supervisors, agents and employees, as
 22       described herein above, violated Plaintiffs' and the members of the Classes' rights under the law.
23        Likewise, WAL-MART knew, or in the exercise of reasonable care should have known, that unless
24        WAL-MART intervened to protect Plaintiffs and the members of the Classes and to adequately
25        supervise, prohibit, discipline, and/or otherwise penalize the conduct, acts, and failures to act of WAL-
26        MART and others as described herein, WAL-MART'S failure to so protect, supervise, and intervene
27        would have the effect of encouraging, ratifying, condoning, increasing and/or worsening said conduct,
28        acts, and failures to act, which is, in fact, what resulted.

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                                                CLASS ACTION COMPLAINT
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   I                   As a direct and proximate result of WAL-MART'S conduct and failures to act,

   2   Plaintiffs and the members of the Classes have sustained general damages according to proof.

   3                   As a direct and proximate result of WAL-MART'S conduct and failures to act,

   4   Plaintiffs and the members of the Classes have sustained special damages according proof.

   5                   The conduct of WAL-MART in discriminating against Plaintiffs and the members of

   6   the Classes because of their disabilities subjected them to cruel and unjust hardship in conscious

   7   disregard of their rights, as it was anticipated by WAL-MART that they would suffer damages in the

   8   foreseeable future. Plaintiffs and the members of the Classes are informed and believes, and based

   9 thereon alleges, that WAL-MART's conduct against Plaintiffs and the members of the Classes was
  10 1 done with an intent to cause injury to them. Moreover, the malicious, fraudulent and/or oppressive

  11   conduct was engaged in, authorized or ratified by officers, directors or managing agents of the

  12   corporation and/or was the result of the application of unlawful, malicious or oppressive policies and
       procedures. As a consequence of the aforesaid oppressive, malicious, and despicable conduct,

       Plaintiffs and the members of the Classes are entitled to an award.ofpunitive damages in a sum to be

       shown according to proof pursuant to California Govern,nen.t Code .§§ 12965 & 12970.

  16                   Plaintiffs and the members of the Classes have incurred and continues to incur legal

  17   expenses and attorneys' fees which they are entitled to recover pursuant to California Government

  18   Code § 12965.

  19

  20                                      SECOND CAUSE OF ACTION

  21                  FAILURE TO REASONABLY ACCOMMODATE IN VIOLATION

  22                                  OF GO VERNMENT CODE § 12940 (m)

 23                                   (Against WAL-MART and DOES 1- 10)

 24                    As a separate and distinct cause of action, Plaintiffs complain and reallege all the

  25   allegations contained in this complaint, and incorporate them by reference into this cause of action as

 26    though fully set forth herein, excepting those allegations which are inconsistent with this cause of

 27    action.

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                                           CLASS ACTION COMPLAINT
                                                                             REMOVAL EXHIBIT A 039
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   1           115. At all times relevant to this action, Plaintiffs and the members of the Classes had

   2   physical and/or mental disabilities within the meaning of Government Code §§ 12926(m) and 12926.1,

   3   and the California Fair Employment and Housing Act (FEHA).

   4           116. At all times, California Government Code § 12940(m) requires employers to provide an

   5   employee with a known physical or mental disability with a reasonable accommodation for said

   6   disability. After being diagnosed with said disabilities, as described herein, Plaintiffs and the members

   7   of the Classes requested reasonable accommodations in the form of medical treatment. Despite

   8   learning of Plaintiffs' and the members of the Classes' disabilities, and their requests for reasonable

   9   accommodations, WAL-MART failed and refused to accommodate their requests, and instead

  10   teniinated Plaintiffs and the members of the Classes from their employment. In doing so, and failing

  11   and refusing to accommodate Plaintiffs and the members of the Classes, WAL-MART has violated

  12   Government Code § 12940 (m).

 13            117. As a direct and proximate result of WAL-MART'S conduct and failures to act,

 14    Plaintiffs and the members of the Classes have sustained .geieral damages according to proof.

  15          118. As a direct and proximate result of WAL-MART'S conduct and failures to act,

 16    Plaintiffs and the members of the Classes have sustained special damages according proof.

 17           119. The conduct of WAL-MART in refusing and/or failing to reasonably accommodate

 18    Plaintiffs and the members of the Classes subjected them to cruel and unjust hardship in conscious

 19    disregard of their rights, as it was anticipated by WAL-MART that they would suffer damages in the

 20    foreseeable future. Plaintiffs and the members of the Classes are informed and believes, and based

 21    thereon alleges, that WAL-MART's conduct against Plaintiffs and the members of the Classes was

 22    done with an intent to cause injury to them. Moreover, the malicious, fraudulent and/or oppressive

 23    conduct was engaged in, authorized or ratified by officers, directors or managing agents of the

 24    corporation and/or was the result of the application of unlawful, malicious or oppressive policies and

 25    procedures. As a consequence of the aforesaid oppressive, malicious, and despicable conduct,

 26    Plaintiffs and the members of the Classes are entitled to an award of punitive damages in a sum to be

 27    shown according to proof pursuant to California Government Code §§ 12965 & 12970.

 28    I/I

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                                          CLASS ACTION COMPLAINT
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   1           120. Plaintiffs and the members of the Classes have incurred and continues to incur legal

   2   expenses and attorneys' fees which they are entitled to recover pursuant to California Government

   3   Code § 12965.

   4

   5                                        THIRD CAUSE OF ACTION

   6                   FAILURE TO ENGAGE IN THE iNTERACTIVE PROCESS IN

   7                           VIOLATION OF GO VERNMENT CODE §12940 (ii)

   8                                  (Against WAL-MART and DOES 1- 10)

   9           121. As a separate and distinct cause of action, Plaintiffs complain and reallege all the

  10   allegations contained in this complaint, and incorporate them by reference into this cause of action as

  11   though ftilly set forth herein, excepting those allegations which are inconsistent with this cause of

  12 action:

  13           122. At all times relevant to this action, Plaintiffs and the members of the Classes had

  14   physical and/or mental disabilities within the meanirig..of Government Code §§ 12926(m) and 12926.1,

  15   and the California Fair Employment and Housing Act (FEHA).

  16           123. After learning of Plaintiffs' and the members of the Classes' disabilities, WAL-MART

 17    failed to engage in an interactive process with Plaintiffs and the members of the Classes to determine

 18    whether WAL-MART could accommodate Plaintiffs' and the members of the Classes' disabilities

 19    and/or their requests for reasonable accommodations, including, but not limited to, time to seek

 20    medical treatment. In doing so, and failing and refusing to engage in an interactive process with

 21    Plaintiffs and the members of the Classes, WAL-MART violated Government Code §12940(n).

 22            124. As a direct and proximate result of WAL-MART'S conduct and failures to act,

 23    Plaintiffs and the members of the Classes have sustaincd general damages according to proof.

 24            125. As a direct and proximate result of WAL-MART'S conduct and failures to act,

 25    Plaintiffs and the members of the Classes have sustained special damages according proof.

 26            126. The conduct of WAL-MART in failing and/or refusing to engage in the interactive

 27    process with Plaintiffs and the members of the Classes subjected them to cruel and unjust hardship in

 28    conscious disregard of their rights, as it was anticipated by WAL-MART that they would suffer

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                                           CLASS ACTION COMPLAINT
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   1 11 damages in the foreseeable future. Plaintiffs and the members of the Classes are informed and

   2 IJ believes, and based thereon alleges, that WAL-MART's conduct against Plaintiffs and the members of

   3   the Classes was done with an intent to cause injury to them. Moreover, the malicious, fraudulent

   4   and/or oppressive conduct was engaged in, authorized or ratified by officers, directors or managing

   5   agents of the corporation and/or was the result of the application of unlawful, malicious or oppressive

   6   policies and procedures. As a consequence of the aforesaid oppressive, malicious, and despicable

   7   conduct, Plaintiffs and the members of the Classes are entitled to an award of punitive damages in a

   8   sum to be shown according to proof pursuant to California Government Code §§ 12965 & 12970.

               127. Plaintiffs and the members of the Classes have incurred and continue to incur legal

  10   expenses and attorneys' fees which they are entitled to recover pursuant to California Governmen.t

  11   Code § 12965.

  12

 13                                       FOURTB CAUSE OF ACTION

 14            FAILURE TO MAINTAIN A WORKPLACE FREE. FROM DISCRIMINATION

 15              AND RETALIATION IN VIOLATION OF GOVERNMENT CODE §12940 (k)

 16                                   (Against WAL-MART and DOES 1- 10)

 17           128. As a separate and distinct cause of action, Plaintiffs complain and reallege all the

 18    allegations contained in this complaint, and incorporate them by reference into this cause of action as

 19    though fully set forth herein, excepting those allegations which are inconsistent with this cause of

 20 action.

 21           129.     WAL-MART failed to take immediate and appropriate Corrective action to prevent and

 22    remedy the discrimination and/or retaliation to which Plaintiffs and the members of the Classes were

 23    subjected to. Specifically, WAL-MART set forth policies and procedures, and failed to properly train

 24    its employees, as to relevant disability discrimination and reasonable accommodations laws, which not

 25    only failed to prevent discrimination in the workplace, but actually created a discriminatory work

 26    environment. Likewise, by discriminating against Plaintiffs and the members of the Classes,

 27    terminating them, and/or retaliating against them based on their actual and/or perceived disabilities

 28    and/or based on their requests for reasonable accommodations, WAL-MART failed to take immediate

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   1   and appropriate corrective action to prevent and/or remedy the discrimination and retaliation to which

   2   Plaintiffs and the members of the Classes were subjected to. At all times, WAL-MART knew of its

   3   legal obligations to maintain legally compliant policies and procedures, knew of its obligations to
   4   properly train its employees as to employees with disabilities, knew of Plaintiffs' and the members of

   5   the Classes' disabilities and/or perceived them to be disabled, and knew of their legal obligations to

   6   reasonably accommodate such disabilities, but disregarded all of these duties. Instead, WAL-MART
   7   retaliated against Plaintiffs and the members of the Classes and/or terminated them. Rather than taking

   8   reasonable steps to prevent discrimination and retaliation, WAL-MART ratified such conduct and

   9   continues to engage in such conduct on a wide-spread basis to this day.
  10           130. As a direct and proximate result of WAL-MART'S conduct and failures to act,

 11    Plaintiffs and the members of the Classes have sustained general damages according to proof.
 12           131. As a direct and proximate result of WAL-MART'S conduct and failures to act,
 13    Plaintiffs and the members of the Classes have sustained special damages according proof.
 14            132. The conduct of W-AL-MA'RIJn failing to maintain a workplace free of discrimination
 15    and/or retaliation for Plaintiffs and the members of the Classes subjected them to cruel and unjust

 16    hardship in conscious disregard of their rights, as it was anticipated by WAL-MART that they would
 17    suffer damages in the foreseeable future. Plaintiffs and the members of the Classes are informed and

 18    believes, and based thereon alleges, that WAL-MART's conduct against Plaintiffs and the members of

 19    the Classes was done with an intent to cause injury to them. Moreover, the malicious, fraudulent
 20    and/or oppressive conduct was engaged in, authorized or ratified by officers, directors or managing

 21    agents of the corporation and/or was the result of the application of unlawful, malicious or oppressive

 22    policies and procedures. As a consequence of the aforesaid oppressive, malicious, and despicable

 23    conduct, Plaintiffs and the members of the Classes are entitled to an award of punitive damages in a
 24    sum to be shown according to proof pursuant to California Government code §§ 12965 & 12970.

 25           133. Plaintiffs and the members of the Classes have incurred and continue to incur legal

 26    expenses and attorneys' fees which they are entitled to recover pursuant to California Government
 27    Code § 12965.

 28    I/I

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                                          CLASS ACTION COMPLAINT
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   1                                         FIFTH CAUSE OF ACTION

   2                                RETALIATION IN VIOLATION OF FEHA

   3                                  (Against WAL-MART and DOES 1- 10)

   4                   As a separate and distinct cause of action, Plaintiffs complain and reallege all the

   5   allegations contained in this complaint, and incorporate them by reference into this cause of action as

   6   though fully set forth herein; excepting those allegations which are inconsistent with this cause of

   7 I action.

   8                   Plaintiffs and the members of the Classes engaged in protected activities by informing

   9   WAL-MART of their disabilities and/or injuries and/or by requesting reasonable accommodations to
  10   treat and/or recover from such disabilities. WAL-MART, acting at least partially in direct retaliation

       for Plaintiffs and the members of the Classes engaging in these protected activities, as described

       above, retaliated against Plaintiffs and the members of the Classes by refusing to accommodate them,
       by refusing to engage in a good-faith interactive process with them, by requiring that they submit to an

  14   unlawful and invasive drug andfor.urnetest, and/or by terminating them from their employment with
  15   WAL-MART.
  16                  As a direct and proximate result of WAL-MART'S conduct and failures to act,

  17   Plaintiffs and the members of the Classes have sustained general damages according to proof.

  18                  As a direct and proximate result of WAL-MART'S conduct and failures to act,

  19   Plaintiffs and the members of the Classes have sustained special damages according proof.

  20                  The conduct of WAL-MART in retaliating against Plaintiffs and the members of the

  21   Classes due to them engaging in protected activities subjected them to cruel and unjust hardship in

  22   conscious disregard of their rights, as it was anticipated by WAL-MART that they would suffer

  23   damages in the foreseeable future. Plaintiffs and the members of the Classes are informed and
  24   believes, and based thereon alleges, that WAL-MART's conduct against Plaintiffs and the members of I

  25   the Classes was done with an intent to cause injury to them. Moreover, the malicious, fraudulent

 26    and/or oppressive conduct was engaged in, authorized or ratified by officers, directors or managing

 27    agents of the corporation and/or was the result of the application of unlawful, malicious or oppressive

 28    policics and procedures. As a consequence of the aforesaid oppressive, malicious, and despicable

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                                           CLASS ACTION COMPLAINT
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  1    conduct, Plaintiffs and the members of the Classes are entitled to an award of punitive damages in a

  2    sum to be shown according to proof pursuant to California Government Code §§ 12965 & 12970.

  3            139. Plaintiffs and the members of the Classes have incurred and continue to incur legal

  4   I expenses and attorneys' fees which they are entitled to recover pursuant to California Government
  5   I Code § 12965.
  6

  7                                          SIXTH CAUSE OF ACTION

  8                           RETALIATION AND WRONGFUL TERMINATiON

  9                                 IN VIOLATION OF LABOR CODE § 1102.5

 10                                   (Against WAL-MART and DOES 1 - 10)

 11            140. As a separate and distinct cause of action, Plaintiffs complain and reallege all the

 12    allegations contained in this complaint, and incorporate them by reference into this cause of action as

 13    though fully set forth herein, excepting those allegations which are inconsistent with this cause of

 14 I action

 15            141. At all times herein mentioned, California Labor Code §§ 1102.5 et seq. was in full

 16    force and effect and were binding on WAL-MART. Under Labor Code § 1102.5(c), an employer

 17    "shall not retaliate against an employee for refusing to participate in an activity that would result in a

 18    violation of state or federal statute, or a violation of or noncompliance with a local, state, or federal

 19    rule or regulation."

 20            142. At all time herein mentioned, as codified under California law, including, but not

 21    limited to, California Government Code § 12940(m), California Code ofRegulations § 11071 and the

 22    Article I, §1 of the California Constitution, California administrative rules and holdings, including

 23    those by the Occupational Safety and Health Administration, and the common law of the Courts of this

 24    State and Country, including, but not limited to, Kralaws/cy v. Upper Deck Company(l997) 56 Cal.

 25    App. 4th 846, 89 1-893, it is unlawful for an employer to require any employee to submit to a drug test

 26    as a condition of that employee's employment, or continued employment, without specific, objective

 27    facts that create a reasonable inference that the employee is under the influence of intoxicants and

 28    which, thus, create good cause justifying such an invasion of the employee's rights to privacy. At all

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                                            CLASS ACTION COMPLAINTREMOVAL                     EXHIBIT A 045
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      1    times such laws, whether codified by statute or which simply reflect the common law of applicable

      2    Courts of law, were in full force and effect and were binding on WAL-MART.

      3            143. During Plaintiffs' and the members of the Classes' employment with WAL-MART,
     4     WAL-MART, as a condition of their continued employment, demanded that Plaintiffs and the
      5    members of the Classes submit to a drug and/or urine test with HEALTFIWORKS. However, in so
  6        doing, WAL-MART made such a demand without any attempt to gather specific, objective facts which

     7     warranted said drug test or demonstrated that any reasonable suspicion that Plaintiffs and the members

  8        of the Classes were under the influence of any intoxicant. In response to WAL-MART'S demand,

  9        because of their disabilities, because they did not want their privacy invaded and/or because they
 10        siomply did not want to submit to such a test, failed to and/or refused to immediately. submit to WAL-
 11       MART'S unwarranted drug test and, thus, failed to comply with WAL-MART's demand that they
 12       directly participate in WAL-MART's unlawful conduct and/or demands. As a result, in retaliation for
 13       Plaintiffs' and the members of the Classes' refusals to immediately submit to WAL-MART'S unlawful
 14       demands for that.theypaiticjpate in such unlawful conduct, WAL-MART terminated Plaintiffs and the
 15       members of the Classes from their employment.

 16               144. As a direct, legal and/or proximate result of Plaintiffs' and the members of the Classes'
 17       refusal to immediately engage in WAL-MART's unlawful conduct themselves despite WAL-MART'S
 18       demand that they do so, WAL-MART retaliated against Plaintiffs and the members of the Classes by
 19       wrongfully and unlawfully terminating them from their employment with WAL-MART. At all times,
 20       such conduct constitutes a violation by WAL-MART of Labor Code § 1102.5 et seq.

 21               145.   As a direct and proximate result of WAL-MART'S conduct and failures to act,
 22       Plaintiffs and the members of the Classes have sustained general damages according to proof.
23                146. As a direct and proximate result of WAL-MART'S conduct and failures to act,
24        Plaintiffs and the members of the Classes have sustained special damages according proof.

 25              147. The conduct of WAL-MART in retaliating against and/or terminating Plaintiffs and the
26        members of the Classes subjected them to cruel and unjust hardship in conscious disregard of their
27        rights, as it was anticipated by WAL-MART that they would suffcr damages in the foreseeable future
28        Plaintiffs and the members of the Classes are iniormed and believes, and based thereon alleges, that

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                                             CLASS ACTION COMPLAINT
                                                                               REMOVAL EXHIBIT A 046
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   1 11 WAL-MART's conduct against Plaintiffs and the members of the Classes was done with an intent to
   2    cause injury to them. Moreover, the malicious, fraudulcnt and/or oppressive conduct was engaged in,

   3    authorized or ratified by officers, directors or managing agents of the corporation and/or was the result

   4    of the application of unlawful, malicious or oppressive policies and procedures. As a consequence of

   5    the aforesaid oppressive, malicious, and despicable conduct, Plaintiffs and the members of the Classes

   6    are entitled to an award of punitive damages in a sum to be shown according to proof.

   7'             148. Plaintiffs and the members of the Classes have incurred and continue to incur legal

   8    expenses and attorneys' fees which they are entitled to recover pursuant to California Labor Code §

   9    2699(g).

  10
  11                                       SEVENTH CAUSE OF ACTION

  12                   WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

  13                                   (Against WAL-MART and DOES 1 - 10)

  14          - 149.. As asçparate and distinct cause of action, Plaintiffs complain and reallàge

  15    allegations contained in this complaint, and incorporate them by reference into this cause of action as

  16    though fully set forth herein, excepting those allegations which are inconsistent with this cause of

  17    action.

  18              150. California law prohibits termination or other adverse employment actions against

  19    employees for reasons that violate public policy. Plaintiffs are informed and believes and thereon

  20    alleges that WAL-MART violated public policy by terminating Plaintiffs and the members of the

  21    Classes employment for reasons that violate public policy of the State of California.

  22              151. WAL-MART's termination of Plaintiffs' and the members of the Classes' employment

  23    violated California statutes and/or common law that inure to the benefit of the public at large and are a

 24     statement of California public policy, including: (a) Government Code § 12940(a); (b) Government

  25    Code § 12940(h); (c) Government Code § 129400); (d) Government Code § 12940(k); (e) Government

 26     Code § 12940(m); (f) Government Code § 12940(n); (g) California Code of Regulations § 11071; (h)

 27     Article 1, §1 of the California Constitution; (I) Kralawsky v. Upper Deck Company (1997) 56 Cal.

 28     App.4th.846; 891-893; and (j) relevant Occupational Safely and Health Administration Rulings. These

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                                            CLASS ACTiON COMPLAINT
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      1    laws, statutes and their interpretative regulations inure to the benefit of the public at large, and embody
      2    fundamental public policy of the State of California and/or the United States.
      3            152. As a direct and proximate result of WAL-MART'S conduct and failures to act,
      4    Plaintiffs and the members of the Classes have sustained general damages according to proof.
      5            153. As a direct and proximate result of WAL-MART'S conduct and failures to act,
      6    Plaintiffs and the members of the Classes have sustained special damages according proof.
  7                154.   The conduct of WAL-MART in 'wrongfully terminating Plaintiffs and the members of
  8        the Classes subjected them to cruel and unjust hardship in conscious disregard of their rights, as it was
  9        anticipated by WAL-MART that they would suffer damages in the foreseeable future. Plaintiffs and
 10        the members of the Classes are informed and believes, and based thereon alleges, that WAL-MART's
 11        conduct against Plaintiffs and the members of the Classes was done with an intent to cause injury to
 12       them. Moreover, the malicious, fraudulent and/or oppressive conduct was engaged in, authorized or
 13       ratified by officers, directors or managing agents of the corporation and/or was the result of the
 14       application-ofeuilawful, malicious or oppressive policies and procedures. As a consequence af.the
 15       aforesaid oppressive, malicious, and despicable conduct, Plaintiffs and the members of the Classes are
 16       entitled to an award of punitive damages in a sum to be shown according to proof.
 17

 18                                           EIGHTH CAUSE OF ACTION
 19                       VIOLATION OF THE CONSTiTUTIONAL RIGHT TO PRIVACY
 20                                     (Against All Defendants and DOES I - 10)
 21               155.    As a separate and distinct cause of action, Plaintiffs complain and reallege all the
 22       allegations contained in this complaint, and incorporate them by reference into this cause of action as
 23       though fully set forth herein, excepting those allegations which are inconsistent with this cause of
 24 action.

 25              156. At all times while employed by WAL-MART, Plaintiffs and the members of the
 26       Classes had a reasonable expectation of privacy in the workplace and related to their employment with
 27       WAL-MART as provided to them by Article I, § I of the California Constitution. Such privacy rights
 28       included Plaintiffs' and the members of the Classes' reasonable expectations that, while employed by

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                                              CLASS ACTION COMPLAINT
                                                                                 REMOVAL EXHIBIT A 048
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    1    WAL-MART, they be free from intrusive, unwarranted drug testing, including urine tests, conducted

    2   without reasonable suspicion based on known specific, objective facts which implicated that Plaintiffs

    3   and the members of the Classes had been intoxicated while at work. Such a test, or request to take such

    4   a test, would invade Plaintiffs' and the members of the Classes' privacy rights by potentially revealing

    5   whether Plaintiffs and the members of the Classes suffered from any chronic medical conditions,

   6    whether Plaintiffs and the members of the Classes suffered from any genetic disorders, whether
   7    Plaintiffs and the members of the Classes took any medications and/or whether Plaintiffs and the

   8    members of the Classes suffered from any sexually transmitted diseases, none of which would have
   9    any relevance to Plaintiffs' and the members of the Classes' employment nor of which any third party,
  10    including WAL-MART or HEALTHWORKS, had a right to know.
  11            157.    Throughout Plaintiff's employment with Defendants maintained a unifonu unlawful
  12    policy, procedure and practice in California that required WAL-MART'S employees to submit to an
  13    immediate, unlawful drug test with HEALTH WORKS whenever an employee suffered a workplace
  .14   .injury,regardless of whether either WAL-MART or HEALTHWORKS had any easona1suspicion
  15    that the employee was intoxicated at work or whether there existed any evidence demonstrating that an
  16    employee was intoxicated at work. At all times, these uniform policies, procedures and practices,
  17    which failed to take into account the unique circumstances of the employee's workplace injury and
  18    failed to take into account the absence of any evidence implying intoxication, was unlawful under

  19    California law because such practices amount to an intentional violation of the privacy rights of all
 20     injured or disabled WAL-MART employees as provided to them under Article 1, §1 of the California
 21 Constitution.

 22            158. During Plaintiffs' and the members of the Classes' employment, Defendants

 23     intentionally intruded on and violated Plaintiffs' and the members of the Classes' privacy rights by
 24     insisting that, as a condition of their continued employment with WAL-MART, they submit to an

 25     unlawful drug and/or urine test with HEALTH WORKS. At the time of such an unnecessarily invasive

 26     demand, neither WAL-MART or FIEALTIl WORKS had gathered any specific, objective evidence that
 27     Plaintiffs and the members of the Classes were intoxicated at work.

 28     I/I

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                                           CLASS ACTION COMPLAINT
                                                                              REMOVAL EXHIBIT A 049
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   1            159. Plaintiffs and the members of the Classes refused to immediately consent to

   2    Defendants' unlawful demand that they immediately submit to its unlawful and invasive drug test with

   3    HEALTI-I WORKS. Instead, because Plaintiffs and the members of the Classes had been injured at

   4    work, because they continued to suffer from immense pain that required immediate medical intention,

   5    and because WAL-MART refused to provide them with any immediate medical attention to treat his

   6    workplace injury, Plaintiffs and the members of the Classes sought out the immediate medical

   7    attention that precluded them from taking the immediate unlawful drug test which Defendants

   8    demanded and lost their jobs as a result. Where other members of the classes took such unlawful drug

   9    tests, their privacy rights were unlawfully violated and/or they were terminated as a result of allegedly

  10    failing drugs test that they should have never been made to submit to.

  11           160. At all times, Defendants' demanded drug tests was highly intrusive and offensive to a

  12    reasonable person, especially in light of Plaintiffs' and the members of the Classes' - employees' -

  13    reasonable expectations of privacy under such circumstances. This is especially true given that

       :Plaintiffs and the members of the Classes were informed that their continued employment with WAL-

  15   MART had depended on them immediately submitting to these unlawful drug tests, even though

  16   neither WAL-MART or HEALTHWORKS had gathered any facts demonstrating that they were in any

  17   manner intoxicated at the time they incurred their injuries and, thus, failed to gather any information to

 18    warrant said drug test under California law. Therefore, WAL-MART's and HEALTHWORKS'

 19    demanded drug test amounted to an unlawful invasion of Plaintiffs' and the members of the Classes'

 20    privacy rights. Because such an invasion of Plaintiffs' and the members of the Classes' privacy rights

 21    directly led to their unlawful termination by WAL-MART and/or led to the disclosure of embarrassing

 22    and/or private information which would have not otherwise been revealed, such was also a substantial

 23    factor in causing Plaintiffs' and the members of the Classes' harm.

 24            161. At all times through Plaintiffs' and the members of the Classes' employment with

 25    WAL-MART, HEALTHWORKS gave substantial assistance to WAL-MART by invading Plaintiffs'

 26    and the members of the Classes' privacy interests which both WAL-MART and HEALTHWORKS

 27    knew or should have known was part of a scheme in invading injured and/or disabled employees'

 28    privacy rights.

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                                           CLASS ACTION COMPLAINT
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  1          162. As a direct and proximate result of Defendants' conduct and failures to act, Plaintiffs

  2   and the members of the Classes have sustained gcncral damages according to proof.

  3          163. As a direct and proximate result of Defendants' conduct and failures to act, Plaintiffs

  4   and the members of the Classes have sustained special damages according proof

  5          164. The conduct of Defendants in discriminating against Plaintiffs and the members of the

  6   Classes because of their disabilities subjected them to cruel and unjust hardship in conscious disregard

  7   of their rights; as it was anticipated by WAL-MART that they would suffer damages in the foreseeable

  8   future. Plaintiffs and the members of the Classes are informed and believes, and based thereon alleges,

  9   that WAL-MART's conduct against Plaintiffs and the members of the Classes was done with an intent

 10   to cause injury to them. Moreover, the malicious, fraudulent and/or oppressive conduct was engaged

 11   in, authorized or ratified by officers, directors or managing agents of the corporation and/or was the

 12   result of the application of unlawful, malicious or oppressive policies and procedures. As a

 13   consequence of the aforesaid oppressive, malicious, and despicable conduct, Plaintiffs and the
      members of the Classes are entitled toan award of punitive damages-in asum jo be shown according

 15   to proof.

 16           165.   This action will result in the enforcement of the constitutional right to privacy, which is

 17   an important right affecting the public interest, and the potential invalidation of an unlawful policy

 18   affecting thousands of employees. Thus, this action will confer a sigeificant benefit on a large class of

 19   persons, given the size of WAL-MART's workforce. As a result, Plaintiffs' and the members of the

 20   Classes' attorneys' fees incurred while pursuing such claims should not, in the interest of justice, be

 21   paid out of the recovery. Accordingly, Plaintiffs and the members of the Classes has incurred and

 22   continue to incur legal expenses and attorneys' fees which they are entitled to recover pursuant to

 23   California Code of Civil Procedure § 1021.5.

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                                          CLASS ACTION COMPLAJNT
                                                                            REMOVAL EXHIBIT A 051
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                                             NINTH CAUSE OF ACTION

                               AIDING AND ABETTING IN VIOLATION OF FEHA

                                    (Against HEALTHWORKS and DOES 1 - 10)

                 166. As a separate and distinct cause of action, Plaintiffs complain and reallege all the

       allegations contained in this complaint, and incorporate theni by reference into this cause of action as

   6   though fully set forth herein, excepting those allegations which are inconsistent with this cause of

   7   action.

   8             167. HEALTHWORKS is subject to the laws of the State of California and are "persons" as

   9   defined in California Government Code § 12925(d) against whom aiding and abetting liability may be

  10   imposed under California Government Code § 12940(1), which makes it unlawful "for any person to

  11   aid, abet, incite, compel or coerce the doing of any acts forbidden under [California Government Code

  12   § 12940(1)] or attempt to do so."

  13             168. At all times through Plaintiffs' and the members of the Classes' employment with
       WAL-MART, HEALTHWORKS knew that WAL-MART had,epgaged-iji, and was engaging in,

  15   conduct which violated FEHA which included, but was not limited to, requiring disabled employees to

  16   take a drug test when they were injured at work for the purpose of finding a reason to take adverse

  17   employment actions, including a termination, against the employee.

  18             169. HEALTHWORKS conducted all of WAL-MART's drug tests without ever inquiring as

  19   to whether such drug tests were lawful or warranted, and WAL-MART's demand without any request

  20   from a doctor or other medical professional. HEALTHWORKS engaged in such conduct despite

 21    knowing and being aware of each of the following: (I) that WAL-MART's policy that every employee

 22    who was injured at work at WAL-MART must be drug tested, regardless of any reasonable suspicion

 23    or evidence implicating that employee's intoxication or drug use, (2) that such drug tests were not

 24    conducted for a diagnostic purpose, but, rather, in hopes of finding a reason to tenninate a disabled

  25   employee, (3) that it was unlawful to discriminate against or terminaLe employees on the basis of their

 26    disabilities, (4) that only disabled WAL-MART employees were subject to such drug testing without

 27    any reasonable suspicion or evidence of intoxication, while non-disabled employees were only given

 28    drug tests when there was a reasonable suspicion of intoxication, and (5) that if a disabled employee

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                                            CLASS ACTION COMPLAINT
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                ever refused to take such an unlawful drug test, that WAL-MART would also use such a refusal as a
           2    reason to terminate the employee. HEALTHWORKS was paid by WAL-MART for each drug test it
           3    administered. As such, despite its knowledge of the above facts and the illegality of its and WAL-
           4    MART's conduct, HEALTHWORKS continued providing such unlawful drug tests, assisting WAL-
           5    MART in its efforts to discriminate against and/or retaliate against disabled employees, because of the
           6    financial gain HEALTHWORKS elicited by doing so.
           7                   HEALTHWORKS gave substantial assistance to WAL-MART in violating FEHA,
           8    which it knew or should have known was part of WAL-MART's scheme of discriminating and/or
           9    retaliating against disabled employees. Such assistance and 'abetment by HEALTHWORKS to WAL-
          10    MART included, but was not limited to, the following: (I) providing WAL-MART with consent forms
         11     to provide to WAL-MART's disabled employees, which such employees were required to sign after
         12    being injured at work; (2) requiring disabled employees to sign WAL-MART's consent forms when
         13     they were injured' at work and before they arrived at HEALTHWORKS' facilities; (3) performing drug
..:..    14    tests on disabled employees who were injured at vvork witlout justification, (4) requiring that disabled
         15    employees waive their constitutional right to privacy as a condition of HEALTHWORKS pro.viding
         16    any medical evaluation or service; (5) requiring that disabled employees waive their constitutional
         17    right to privacy as a condition of HEALTHWORKS providing such unlawful drug tests; and (6)
         18    requiring disabled employees to submit to such unlawful drug tests as a condition of
         19    HEALTHWORKS providing any medical evaluation or service:
         20                    HEALTHWORKS assistance in and abetment of WAL-MART's discriminatory
         21    conduct all led to Plaintiffs and the members of the Classes unlawful termination by WAL-MART
         22    and/or the discrimination they suffered, damaging Plaintiffs and the members of the Classes as a result.
         23                   As a direct and proximate result of 1-IEALTJ-IWORKS'conduct and failures to act,
         24    Plaintiffs and the members of the Classes have sustained general damages according to proof.
         25                   As a direct and proximate result of HEALTHWORKS' conduct and failures to act,
         26    Plaintiffs and the members of the Classes have sustained special damages according proof.
         27                   The conduct of HEALTH WORKS in assisting and/or abetting WAL-MART in
         28    discriminating against Plaintiffs and the members of the Classes because of their disabilities subjected

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                                                   CLASS ACTION COMPLAINT
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   1    them to cruel and unjust hardship in conscious disregard of their rights, as it was anticipated by WAL-

   2   MART that they would suffer damages in the foreseeable future. Plaintiffs and the members of the

   3   Classes are infonned and believes, and based thereon alleges, that WAL-MART's conduct against

   4   Plaintiffs and the members of the Classes was done with an intent to cause injury to them. Moreover,

   5   the malicious, fraudulent and/or oppressive conduct was engaged in, authorized or ratified by officers,

   6   directors or managing agents of the corporation and/or was the result of the application of unlawful,

   7   malicious or oppressive policies and procedures. As a consequence of the aforesaid oppressive,

   8   malicious, and despicable conduct, Plaintiffs and the members of the Classes are entitled to an award

   9   of punitive damages in a sum to be shown according to proof pursuant to California Government Code

  10 §§ 12965 & 12970.

 11            175.    Plaintiffs and the members of the Classes have incurred and continue to incur legal

 12    expenses and attorneys' fees which they are entitled to recover pursuant to California Government

 13    Code*12965.

 14                                                   .

 15                                         TENTH CAUSE OF ACTION

 16                               DECLARATORY AND INJUNCTIVE RELIEF

 17                                   (Against All Defendants and DOES 1 - 10)

 18            176. As a separate and distinct cause of action, Plaintiffs complain and reallege all the

 19    allegations contained in this complaint, and incorporate them by reference into this cause of action as

 20    though fully set forth herein, excepting those allegations which are inconsistent with this cause of

 21 action.

 22            177. At all times relevant herein, the FEHA and California Government Code § 12920.5

 23    provides that "in order to eliminate discrimination, it is necessary to provide effective remedies that

 24    will both prevent and deter unlawful employment practices and redress the adverse effects of those

 25    practices on aggrieved persons. Likewise, one of the stated purposes of FEHA, under California

 26    Government Code § 12920 is "to provide effective remedies which will eliminate" employment

 27    discrimination. Consequently, the FEI-JA, pursuant to California Government Code §§ 12926(a).

 28    authorizes a Court to grant injunctive relief and prospective relief including, but not limited to, cease

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                                            C;LASS ACTION COMPLAINT
                                                                              REMOVAL EXHIBIT A 054
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   1   and desist orders, posting of notices, training of personnel and other similar relief that is intended to

   2   correct unlawful employment practices.

   3           178. An actual controversy exists between Plaintiffs and the members of the Classes, and

   4   Defendants concerning whether Defendants violated Plaintiffs' and the members of the Classes' rights

   5   under the FEHA by discriminating against Plaintiffs and the members of the Classes, violated

   6   Plaintiffs' and the members of the Classes' rights under the FEHA by retaliating against them on the

   7   basis of their disabilities, requests for reasonable accommodation and/or refusal to submit to an

   8   unlawful drug and/or urine test while employed by WAL-MART, and/or violated Plaintiffs' and the

   9   members of the Classes' rights under the California constitution by requiring that they submit to an

  10   unlawful drug test without legal justification.

  11           179. Plaintiffs and the members of the Classes seek a finding from the Court that WAL-

  12   MART's adverse employment actions were substantially motivated by unlawful discrimination and/or

  13   retaliation, regardless of whether or not WAL-MART proves that it would made the same employment

  14   decisions concerning Plaintiffs and the members of the.-Classes even if discrimination and/or

  15   retaliation were not substantial motivating factors for WAL-MART's adverse employment actions

  16   against Plaintiffs and the members of the Classes. Concurrently, Plaintiff seeks an order from the

  17   Court condemning WAL-MART's discriminatory and/or retaliatory employment policies and/or

  18   practices as provided by California Code of Civil Procedure § 1060.

  19           180. An actual controversy exists between Plaintiffs and the members of the Classes and

  20   HEALTHWORKS concerning whether HEALTHWORKS violated Plaintiff s rights under the FEHA

  21   aiding, abetting and/or engaging in discrimination against Plaintiff on the basis of his disabilities.

  22   Plaintiff seeks a finding from the Court that HEALTHWORKS aided and abetted WAL-MART in its

 23    unlawful, discriminatory and/or retaliatory adverse employment actions against Plaintiffs and the

 24    members of the Classes, regardless of whether or not WAL-MART proves that it would made the

 25    same employment decisions concerning Plaintiffs and the members of the Classes even if

 26    discrimination and/or retaliation were not substantial motivating factors for WAL-MART's adverse

 27    employment actions against Plaintiffs and the members of the Classes. Concurrently, Plaintiffs and the

 28    members of the Classes seek an order from the Court condemning HEALTHWORKS' conduct of

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                                           CLASS ACTION COMPLAINT
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   1   aiding and abetting discriminatory and/or retaliatory employment practices and policies as provided by

   2   California Code of Civil Procedure § 1060.

   3           181. In addition, upon finding of unlawful discrimination, Plaintiffs and the members of the

   4   Classes request that the Court grant injunctive relief to stop the discriminatory practices which violate

   5   FEHA as provided for in California Government Code §§ 12920 & 12920.5, and the California

   6   Supreme Court's decisions in Harris v. City of Santa Monica (2013) 56 Cal. 4t 2013, 234-235, and

   7   Aguilar v. Avis RentA Car Systems, Inc. (1999)21 Cal. 4th 121, 13 1-132.

   8           182. Plaintiffs and the members of the Classes also seek a finding from the Court that WAL-

   9   MART'S and/or HEALTHWORKS uniform practices, policies and/or procedures which automatically

  10   require that any employee working for WAL-MART who injures themselves within the performance

  11   and/or scope of their duties immediately submit to a drug test or else face termination is unlawful and

  12   in violation of California law. Concurrently, Plaintiffs and the members of the Classes seeks an order

  13   from the Court condemning WAL-MART'S and/or HEALTHWORKS unlawful drug testing practices,

  14   policies and/or procedures as provided by California Code of Civil Procedure § 1060.

  15           183. Upon a detennination that such findings and declaratory relief relief; as requested

  16   above, is appropriate, Plaintiffs and the members of the Classes request that this Court also enter an

  17   order enjoining WAL-MART and HEALTHWORKS from engaging in, aiding in or abetting in any

  18   such discriminatory practices, described herein, prohibiting WAL-MART and HEALTHWORKS from

  19   performing automatic drug and/or urine tests on individuals on no other basis that a workplace injury

  20   or disability, requiring the posting of notices containing employees' rights and detailing their

  21   violations of FEHA, requiring WAL-MART to effectively train its personnel in relevant California

  22   laws, including the FEHA, prohibiting discrimination in the workplace, requiring an interactive

  23   process and requiring reasonable accommodations, and requiring that WAL-MART makes periodic

 24    reports to the Court to ensure its compliance with its obligations under the FEHA and such injunctive

  25   relief ordered by the Court.

  26          184. Plaintiffs and the members of the Classes have incurred and continue to incur legal

 27    expenses and attorneys' fees which they arc entitled to recover pursuani to California Government

 28    Code § 12965.
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                                          ELEVENTH CAUSE OF ACTION

   2                    VIOLATION OF BUSINESS AND 1'ROFESSIONS CODE § 17200

   3                                  (Against All Defendants and DOES I - 10)

   4           185. As a separate and distinct cause of action, Plaintiffs complain and reallege all the

   5   allegations contained in this complaint, and incorporate them by reference into this cause of action as

   6   though fuliy set forth herein, excepting those allegations which are inconsistent with this cause of

   7 action.

   8           186. Defendants' violations of Plaintiffs' and the members of the Classes' right to privacy by

   9   demanding that they submit to an unlawful drug test, WAL-MART's unlawful termination of Plaintiffs
  10   and the members of the Classes, Defendants either aiding in, abetting in and/or engaging in

  11   discrimination against Plaintiffs and the members of the Classes on the basis of their disabilities
  12   and/or injuries, and/or Defendants forcing Plaintiff to submit to a drug test as a condition of his
  13   continued employment in further acts of discrimination and/or retaliation against Plaintiffs and the

  14   members of the Classes all constitute unlawful activity and unfair business practices prohibited by

 15    California Business and Professions Code § 17200, et seq.
 16            187. Plaintiffs and the members of the Classes are entitled to an injunction under California
 17    Business and Professions Code § 17202, and/or other equitable relief against such unlawful and unfair
 18    practices in order to prevent future loss, for which there is no adequate remedy at law, and to avoid a

 19    multiplicity of lawsuits. Plaintiffs and the members of the Classes bring this cause of action

 20    collectively, as members of the general public and as representatives of all others subject to

 21    Defendants' unlawful and unfair acts and business practices.

 22            188. As a result of Defendants' unlawful and unfair business practices, each have reaped and

 23    continue to reap unfair benefits at the expense of Plaintiffs, the members of the Classes and the public

 24    at large, all of which have been prejudiced by such unfair business practices.

 25            189. As a direct and proximate result of Defendants' unfair business practices in violation of

 26    California Business and Professions Code § 17200, el seq., Plaintiffs and the members of the Classes

 27    are entitled to equitable relief, including full restitution and disgorgement of profits that Defendants'

 28    have received in engaging in such unlawful and unfair business practices. Additionally, Plaintiffs and

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   I 11 the members of the Classes request that the Court issue a preliminary and permanent injunction

   2   prohibiting Defendants from continuing to engage in the unlawful and/or unfair business practices

   3   described herein, including their unlawful drug and/or urine tests by HEALTHWORKS of employees
   4   who are injured within the scope of their employment with WAL-MART and the termination of any

   5 11 employees related to such demands.

   6           190. Enforcement of constitutional and statutory provisions enacted and common law
   7   created to protect privacy is a fundamental public interest in California. Plaintiffs' and the members of
  8    the Classes' success in this action will result in the enforcement of important rights affecting the public

  9    interest and will confer a significant benefit upon the general public. The private enforcement of the
 10    rights enumerated herein is necessary as no public agency has pursued enforcement. Such attorneys'
 11    fees should not, in the interest of justice, be paid out of any recovery. Accordingly, Plaintiffs and the
 12    members of the Classes have incurred and continue to incur legal expenses and attorneys' fees which
 13    they are entitled to recover pursuant to California Code of Civil Procedure § 1021.5.
 14

 15                                            PRAYER FOR RELIEF
 16           W1-IER.EFORE, Plaintiffs, on behalf of himself and all other similar situated, pray for judgment
 17 as follows:
 18           A.      As to All Eleven (11) Causes of Action:
 19           That the Court issue an Order certif'ing the Classes herein, appointing the named Plaintiffs as
 20    representatives of all others similarly situated, and appointing the law firms representing the named
 21    Plaintiffs as counsel for the members of the Classes;
 22           B.      As to the First Cause of Action for Disability Discrimination:

 23                   1.      For general and special damages according to proof;
 24                   2.      For pre-judgment interest to the extent allowed by law;
 25                   3.      For punitive and/or exemplary damages in all amount to punish Defendants;
 26                   4.      For costs of suit incurred herein;
 27                   5.      For expert's costs and fees incurred herein;
 28                   6.      For attorney's fees in prosecuting this action;

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                                      For reinstatement of the members of the Classes' employment into the same

  2    and/or similar positions lost; and

  3                                   For such other and further relief as the Court deems just and proper, including
  4    declai atoty and/or itijuiictive ielief if appi opt iale.

  5            C.       As to the Second Cause of Action for Failure to Reasonably Accommodate:
  6                                   For general and special damages according to proof;
  7                                   For pre-judgment interest to the extent allowed by law;

  8                                   For punitive and/or exemplary damages in an amount to punish Defendants;
  9                                   For costs of suit incurred herein;

 10                                   For expert's costs and fees incurred herein;
 11                                   For attorney's fees in prosecuting this action; and
 12                                   For such other and further relief as the Court deems just and proper.
 13            D.      As to the Third Cause of Action for Failure to Engage in the Interactive Process:
 14'                              .   For general and special damages according to proof
 15                                   For pre-judgment interest to the extent allowed by law;
 16                                   For punitive and/or exemplary damages in an amount to punish Defendants;
 17                                   For costs of suit incurred herein;
 18                                   For expert's costs and fees incurred herein;

 19                                   For attorney's fees in prosecuting this action; and
 20                                   For such other and further relief as the Court deems just and proper.
 21            E.      As to the Fourth Cause of Action for Failure to Maintain a Woplace Free from
 22                    Discrimination and Retaliation:

 23                                   For general and special damages according to proof,
 24                                   For pre-judgrnent interest to the extent allowed by law;

 25                           '       For punitive and/or exemplary damages in an amount to punish Defendants;
 26                                   For costs of suit incurred herein;
 27                                   For expert's costs and fees incurred herein;

 28                                   For attorney's fees in prosecuting this action; and

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  1'                  7.      For such other and further relief as the Court deems just and proper.

  2            F.     As to the Fifth Cause of Action for Retaliation in Violation of FEHA:

  3                           For general and special damages according to proof,

  4                           For pre-judgment interest to the extent allowed by law;

  5                           For punitive and/or exemplary damages in an amount to punish Defendants;

  6                           For costs of suit incurred herein;

  7                           For expert's costs and fees incurred herein;

  8                           For attorney's fees in prosecuting this action;

  9                           For reinstatement of the members of the Classes' employment into the same

 10    and/or similar positions lost; and

 11                           For such other and further relief as the Court deems just and proper, including

 12    declaratory and/or injunctive relief if appropriate.

 13           G.      As to the Sixth Cause of Action for Retaliation and Wrongful Termination in

 14                   Volation.oLLabor Code         1102.5:                                       .    ..

 15                           For general and special damages according to proof;

 16                           For pre-judgment interest to the extent allowed by law;

 17                           For punitive and/or exemplary damages in an amount to punish Defendants;

 18                           For costs of suit incurred herein;

 19                           For attorney's fees in prosecuting this action; and

 20                           For such other and further relief as the Court deems just and proper.

 21           H.      As to the Seventh Cause of Action for Wrongful Termination in Violation of

 22                   Public Policy:

 23                           For general and special damages according to proof;

 24                           For pre-judgment interest to the extent allowed by law;

 25                           For punitive and/or exemplary damages in an amount to punish Defendants;

 26                           For costs of suit incurred herein; and

 27                           For such other and further relief as the Court deems just and proper.

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      1            1.         As to the Eighth Cause of Action fo Violatioji of the Constitutional Right to
  2                           Privacy:

  3                           1.     For general and special damages according to proof;
  4                           2.     For pre-judgmerit interest to the extent allowed by law;
  5                           3.     For punitive and/or exemplary damages in an amount to punish Defendants;
  6                           4.     For costs of suit incurred herein;
  7                           5.     For attorney's fees in prosecuting this action; and
  8                           6.     For such other and further relief as the Court deems just and proper.
  9               J.          As to the Ninth Cause of Action for Aiding and Abetting in Violation of FEHA:
 10                           I.    For general and special damages according to proof;
 11                                 For pre-judgment interest to the extent allowed by law;
 12                                 For punitive and/or exemplary damages in an amount to punish Defendants;
 13                                 For costs of suit incurred herein;
 14                       5.. :.For expert's costs and fees incurred herein;
                          .                                                                        .   ....   -
 15                       6.        For attorney's fees in prosecuting this action;
 16                       7.        For reinstatement of the members of the Classes' employment into the same
 17       and/or similar positions lost; and
 18                       8.        For such other and further relief as the Court deems just and proper.
 19               K.      As to the Tenth Cause of Action for Declaratory and Injunctive Relief:
 20                       I.        For an order for declaratory relief stating that Defendants act complained of
 21       herein are unlawful;

 22                                 For an order for injunctive relief; including a temporary and/or permanent
 23       injunction prohibiting Defendants from engaging in the acts complained of herein;
 24                                 For equitable relief;
 25                                 For costs of suit incurred herein;
 26                                 For attorney's fees in prosecuting this action; and
 27                                 For such other and further relief as the Court deems just and proper, including
 28       other declaratory, equitable and/or injunctive relief if appropriate.

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      1           L.      As to the Eleventh Cause of Action for Unfair Business Practices:
   2                              For an accounting, under administration of Plaintiffs and/or the receiver and
   3      subject to Court review, to determine the amount to be returned by Defendants, and the amounts of
   4      restitution owed by Defendants;

   5                              For an order requiring Defendants to identity each of the members of the
   6      Classes by name, home address, and home telephone number;
   7                             For an order requiring Defendants to make full restitution and payment of
   8      disgorged or unfair profits;

   9,                            For an order for a preliminary and/or permanent injunction prohibiting
  10      Defendants from engaging in the acts complained of herein;
  11                     .5.     For the creation of an administrative process wherein each injured member of
  12      the Classes may submit a claim in order to receive his/her money;
  13                     6.      For all other appropriate declaratory and equitable relief;
  14                             For interest to the extent permitted by law;              .
  15                             For costs of suit incurred herein;
  16                             For attorney's fees in prosecuting this action; and
 17                              For such other and further relief as the Court deems just and proper, including
 18       other declaratory, equitable and/or injunctive relief if appropnate.
 19

 20

 21       Dated: January 12, 2017.
 22
                                                        DAVID M. DERUBERTIS, ESQ.
 23                                                     THE DERUBERT1S LAW FIRM, APC.
                                                        BRENNAN S. KAHN, ESQ.
 24                                                     PERONA, LANCER, BECK, SERBIN,
                                                        MENDOZA & HARRISON, APC.
 25                                                     Attorneys for Plaintiff, Kris Kenny, and all other similarly
                                                        situated
 26

 27

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   1                                       DEMAND FOR JURY TRIAL

   2          Plaintiffs hereby demand trial by jury on all issues so triable in the Complaint, or any other

  3    pleading filed in this matter.

  4

   5
  6 Dated: January 12, 2017.

  7
                                                     DAVID M. DERUBERTIS, ESQ.
  8                                                  THE DERUBERTIS LAW FIRM, APC.
                                                     BRENNAN S. KAHN, ESQ.
  9                                                  PERONA, LANGER, BECK, SERBIN,
                                                     MENDOZA & HARRISON, APC.
  10                                                 Attorneys for Plaintiff, 1(ris Kenny, and all other similarly
                                                     situated
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